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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                               Chapter 11
                                         i
    BARFLY VENTURES, LLC, et al,                               Case No. 20-01947-jwb
                                                               Hon. James W. Boyd
                          Debtors.                             Jointly Administered


        NOTICE OF FIRST APPLICATION OF SUGAR FELSENTHAL GRAIS &
    HELSINGER LLP FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       Notice is hereby given that the following professional persons have made application to
the United States Bankruptcy Court for the Western District of Michigan for allowance and
payment of fees and expenses incurred for the period from June 25, 2020 through October 31,
2020, as listed below:

    Professional (name and address):                Sugar Felsenthal Grais & Helsinger LLP
                                                    SON. LaSalle Street, Suite 3000
                                                    Chicago, IL 60602

    Fees requested:                                 $258,150.00

    Expenses requested:                             $35.00

    Fees previously allowed by Court:               N/A


PLEASE NOTE: The application is available for public review at the Clerk's Office, One Division
North, Grand Rapids, Michigan, Monday through Friday, from 8:00 a.m. - 4:00 p.m. No hearing
will be set before the Court unless a written objection to this application is timely filed with the
Clerk of the Bankruptcy Court. If you have any objection, you have 21 days from the date of
service of this notice in which to file such written objection. If an objection is filed, a subsequent
notice will be sent to you of the date, time and location of the hearing on the objection.

1 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant Saloon)(4255).


4997803.vl
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                  ANY OBJECTION MUST BE TIMELY FILED WITH:

                             United State Bankruptcy Court
                                  One Division North
                             Grand Rapids, Michigan 49503

               A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                             Jaffe Raitt Heuer & Weiss, P.C.
                                    Attn: Paul R. Hage
                               27777 Franklin, Suite 2500
                               Southfield, Michigan 48034



                                        Respectfully submitted by,

                                        JAFFE RAIT HEUER & WEISS, P.C.

                                        By:    /s/ Paul R. Hage
                                        Paul R. Hage (P70460)
                                        27777 Franklin Road, Suite 2500
                                        Southfield, MI 48034
                                        Phone: (248) 351-3000
                                        phage@i affelaw.com

                                        -and-

                                        SUGAR FELSENTHAL GRAIS &
                                        HELSINGER, LLP

                                        Michael A. Brandess
                                        30 N. LaSalle Street, Suite 3000
                                        Chicago, IL 60602
                                        Phone: (312) 704-9400
                                        mbradness@sfgh.com

                                        Counsel to the Official Committee of Unsecured
                                        Creditors of Barfly Ventures, LLC et al.

Dated: December 2, 2020.
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                                         Chapter 11
 BARFLY VENTURES, LLC, et al,1                                           Case No. 20-01947-jwb
                                                                         Hon. James W. Boyd
                            Debtors.                                     Jointly Administered


        FIRST APPLICATION OF SUGAR FELSENTHAL GRAIS & HELSINGER LLP
             FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
        COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

          Sugar Felsenthal Grais & Helsinger LLP ("SFGH"), counsel to the Official Committee of

Unsecured Creditors of Barfly Ventures, LLC (the "Committee") appointed in the above-captioned

chapter 11 cases, submits this first application (the "Fee Application") for compensation for

services rendered and reimbursement of expenses incurred as counsel to the Committee from June

25, 2020 through October 31,2020 (the "Application Period"), pursuant to section 330 and 331 of

the Bankruptcy Code, Rule 2016 of the Federal Rules of Bankruptcy Procedure, Local Bankruptcy

Rule 2016-2 and the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Doc. No. 113] (the "Compensation Order").3 In

support of this Fee Application, SFGH states:



2 TheDebtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(l129),
50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing
Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-
Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC
(9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970), HopCat-
Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington,
LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-
Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis,
LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant
Saloon)(4255).

3 The Bankruptcy Code is set forth in 11 U.S.C. §§ 101 etseq. Specific sections of the Bankruptcy Code are identified
herein as "section      Similarly, specific rules from the Federal Rules of Bankruptcy Procedure are identified herein
as "Bankruptcy Rule " and specific rules from the Local Bankruptcy Rules of the United States Bankruptcy Court
for the Western District of Michigan are identified herein as "Local Bankruptcy Rule ."
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                                      Jurisdiction & Venue

                 The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and

28 U.S.C. § 157(a). This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

District under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested in this Fee

Application are sections 330, 331 and 503(b)(2), Bankruptcy Rule 2016 and Local Bankruptcy

Rule 2016-2.

                                           Background

       2.        On June 3, 2020, Barfly Ventures, LLC and its affiliates (collectively, the

"Debtors") filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to manage their remaining assets and financial affairs as debtors in possession.

       3.        The Office of the United States Trustee appointed the Committee on June 23,2020

[Doc. No. 85].

       4.        The Court entered an order approving SFGH's employment as counsel for the

Committee, retroactive to June 25, 2020, on August 10, 2020 [Doc. No. 230] (the "Employment

Order").

                 The Court entered the Compensation Order on June 30, 2020. The Compensation

Order authorizes professionals retained in these cases, including SFGH, to file with the Court and

serve monthly statements of fees and expenses on parties identified in the Compensation Order.

If no timely objections were filed, the Debtors were authorized to pay each professional 80% of

the fees and 100% of the expenses requested in each monthly statement.

                                    Request for Compensation

       6.        In connection with professional services rendered to the Committee in these cases

during the Application Period, SFGH seeks allowance of an administrative expense pursuant to

section 503(b)(2) in the amount of $258,185.00, which consists of compensation in the amount of
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$258,150.00 and reimbursement of expenses incurred in the amount of $35.00. Additionally, to

the extent not previously paid under the Compensation Order, SFGH seeks prompt payment of

such administrative expense.

        7.         As provided by the Compensation Order, SFGH served monthly statements for

interim compensation and expense reimbursement for the months of June 2020, July 2020, August

2020, September 2020 and October 2020 (each, a "Monthly Statement" and collectively, the

"Monthly Statements") during the Application Period. The amounts sought under each Monthly

Statement are summarized as follows:

                                                         Total Fees &       Fees & Expenses Paid    Outstanding
  Monthly Period         Fees          Expenses
                                                          Expenses         Per Compensation Order     Balance

     June 2020            $32,750.00          $35.00          $32,785.00               $26,235.00         $6,550.00
     July 2020            $85,500.00           $0.00          $85,500.00               $68,400.00        $17,100.00
    August 2020           $41,950.00           $0.00          $41,950.00               $33,560.00         $8,390.00
  September 2020          $73,350.00           $0.00          $73,350.00               $58,680.00        $14,670.00
   October 2020           $24,600.00           $0.00          $24,600.00               $19,680.00         $4,920.00

             Total:      $258,150.00          $35.00 r       $258,185.00              $206,555.00        $51,630.00


The fees and expenses for October 2020 ($19,680.00) that are payable under the Compensation

Order have not yet been paid, but SFGH understands that such amounts will be paid in the coming

days.

        8.         Attached to this Application as Exhibits A-E, in the form of the Monthly

Statements, are detailed statements of fees and expenses incurred during the Application Period.

The time described in the Monthly Statements attached to this Application represents the actual

amount of time spent or, in certain instances, less than the actual amount of time spent by SFGH

attorneys and paralegals who rendered the services described. Certain time reflected in the

Monthly Statements has been either reduced or "no-charged" by SFGH to reduce the burden on

the estates related to multiparty conferences or to other services deemed in hindsight to warrant

adjustment.
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       9.      No objections to the Monthly Statements were filed, and under the Compensation

Order, SFGH was entitled to, and received, payment of $206,555.00 from the Debtors for fees and

expenses incurred during the Application Period.

       10.     SFGH's hourly rates of compensation for attorneys and paraprofessionals during

the Application Period ranged from $250.00 to $685.00, subject to an hourly blended rate cap of

$500 per hour as approved under the terms of the Employment Order. These rates are comparable

to, or lower than, rates charged by other practitioners having the same level of experience,

expertise, and standing for similar services. SFGH consistently and consciously made every

reasonable effort to represent the Committee in the most economical, efficient, and practical

manner possible.

       11.     SFGH professionals expended significant effort during the Application Period to

ensure the successful administration of these chapter 11 cases. On behalf of the Committee, SFGH

undertook an investigation of the Debtors' business operations, addressed various issues related to

the paycheck protection program loan obtained by the Debtors, investigated certain claims and

causes of action belonging to the Debtors' estate, helped to ensure a fair and fulsome sale process

aimed at maximizing the value of the Debtors' assets for the benefit of creditors, negotiated a

resolution of certain objections to the sale of the Debtors' assets to their pre-petition lenders, and

addressed various other issues consistent with their duties as counsel for the Committee.

Accordingly, the time spent and expenses incurred during the Application Period were necessary

and appropriate under the circumstances.

       12.     The services rendered by SFGH during the Application Period are grouped into

various categories, and the attorneys and paraprofessionals who rendered those services are

identified—along with the number of hours spent by each individual and the total compensation
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sought for each category—in the attachments to this Fee Application. Brief descriptions of the

services rendered by SFGH during the Application Period, by category, follow:

      A.    Case Administration
         SFGH spent 97 hours related to the administration of the chapter 11 cases during the

Application Period. This category includes communicating with other estate professionals

regarding the status of the chapter 11 cases and strategy, evaluating and investigating the Debtors'

operations and requesting related information, reviewing and addressing first day and other

motions filed in the bankruptcy cases, analyzing insider and affilliate bankruptcy filings and

related claims/strategy, evaluating conversion/liquidating plan alternatives, and evaluating various

options for generating a distribution to general unsecured creditors.

      B.    Schedules & Reports

         SFGH spent 4.5 hours during the Application Period reviewing the Debtors' schedules of

assets and liabilities.

      C.    SFGH Employment & Fee Applications

         SFGH spent 16.4 hours during the Application Period related to preparing, reviewing and

transmitting SFGH's Monthly Fee Statements.

      D.    Other Professionals Employment & Fee Applications

         SFGH spent 25.5 hours during the Application Period related to reviewing and addressing

employment and fee applications filed by other estate professionals engaged in the chapter 11

cases.

      E.    Executory Contracts & Unexpired Leases

         SFGH spent 1 hour during the Application Period addressing issues related to the

assumption, rejection and/or assignment of executory contracts and unexpired leases in the chapter

11 cases.
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     F.     Claims Analysis & Objections

        SFGH spent .8 hours during the Application Period reviewing claims filed in these chapter

11 cases.

     G,     Committee Meetings & Governance

        SFGH spent 51.5 hours participating in meetings and communications with the Committee,

as well as addressing specific governance matters for the Committee, during the Application

Period. This category includes regular (usually weekly) conference calls with the Committee

members and professionals to discuss the status of the chapter 11 cases and strategy.

      //.   Litigation

        SFGH spent 37.6 hours related to litigation, contested matters, and similar proceedings

during the Application Period. This category includes time spent during analyzing and litigating

issues related to the treatment of the paycheck protection program loan obtained by the Debtors,

investigating insider claims and causes of action, and analyzing directors and officers insurance

coverage.

       1. Asset Sales

        SFGH spent 185.4 hours analyzing the Debtors' proposed sale strategy in these cases,

reviewing, revising and objecting to the Debtors' proposed sale procedures, consulting with the

Debtors and their professionals regarding the status of the Debtors' marketing and sale efforts,

preparing an objection to the sale of substantially all of the Debtors' assets to their prepetition

lenders pursuant to a credit bid, participating in mediation with the Honorable John T. Gregg to

resolve such objections, documenting the resolution of such objections, and facilitating the closing

of the sale transaction.

        /. Investigation of Operations and Assets
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       SFGH spent 86.5 hours investigating the operations and assets of the Debtors. This

included time spend analyzing, addressing and litigating issues with respect to the Debtors'

paycheck protection loan and the treatment of the proceeds thereof, requesting and analyzing

information regarding the Debtors' cash flow, and analyzing administrative solvency of the chapter

11 cases.

       K. Budget & Financial Issues

       SFGH spent 10.1 hours reviewing and analyzing the Debtors' budgeting and cash flow

projections and analyzing purchaser's proposed exit financing.

       13.     SFGH submits that the compensation sought under this Fee Application represents

a fair and reasonable amount for the services rendered during the Application Period, given the

criteria set forth in section 330 for evaluating applications for compensation, namely:

            (A) the time spent on such services;
            (B) the rates charged for such services;
            (C) whether the services were necessary to the administration of, or beneficial
       at the time at which the service was rendered toward the completion of, a case under
       this title;
           (D) whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue,
       or task addressed;
            (E) with respect to a professional person, whether the person is board certified
       or otherwise has demonstrated skill and experience in the bankruptcy field; and
            (F) whether the compensation is reasonable based on the customary
       compensation charged by comparably skilled practitioners in cases other than cases
       under this title.

11 U.S.C. § 330(a)(3).

       14.     The only actual and necessary expenses incurred by SFGH for which it seeks

reimbursement is the $35.00 fee paid on or about June 30, 2020 related to the admission of

Elizabeth Vandesteeg to the United States District Court for the Western District of Michigan. All

expenses billed to the estates were billed in the same manner SFGH bills its non-bankruptcy
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clients. SFGH does not bill its clients or seek compensation in this Fee Application for certain

overhead expenses, such as local and long-distance telephone calls, secretarial services, electronic

legal research, and facsimile transmissions. Such expenses are factored into SFGH's hourly rates.

       15.      This Fee Application is SFGH's first request for allowance of fees and expenses as

an administrative expense for services performed as counsel to the Committee. Under this Fee

Application, SFGH seeks an order (a) allowing and approving compensation to SFGH of

$258,185.00 for professional services rendered, and reimbursement of $35.00 for actual and

necessary expenses incurred by SFGH during the Application Period; and (b) authorizing payment

to SFGH for amounts approved under the Fee Application to the extent not already paid by the

Debtors under the Compensation Order.

       16.      The Committee professionals did not receive a retainer in these chapter 11 cases.

To date, SFGH has been paid a total of $206,555.00 by the Debtors for its postpetition fees and

expenses incurred in these chapter 11 cases during the Application Period pursuant to the

Compensation Order. Such amount has not been shared, and no agreement or understanding exists

between SFGH and any other entity for the sharing of compensation received or to be received for

services rendered in or in connection with these chapter 11 cases. Presuming this Fee Application

is approved in its entirety, the outstanding amount owed to SFGH for unpaid fees and expenses

during the Application Period will be $51,630.00.

       17.      In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule 2016-

2(c), and the Compensation Order, SFGH will provide notice of this Fee Application through the

Court's ECF system to: (a) counsel for the Debtors; (b) the Office of the United States Trustee for

the Western District of Michigan; and (c) parties who have filed a notice of appearance with the

Clerk of the Court and requested notice of filings in these cases. Additionally, SFGH will provide
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notice of this Fee Application, by electronic mail, to: (i) BarFly Ventures, LLC, c/o Mark A.

Sellers, III, 35 Oakes Street, SW, Suite 400, Grand Rapids, Michigan 49503, email:

mark@barflyventures.com; (ii) Pachulski Stang Ziehl & Jones LLP (Attn. John Lucas), 150

California Street, 15th Floor San Francisco, California 94111-4500, email: jlucas@pszjlaw.com;

(hi) Warner Norcross + Judd LLP, 1500 Warner Building, 150 Ottawa Avenue, NW, Grand

Rapids, Michigan 49503 (Attn. Elisabeth M. Von Eitzen), email: evoneitzen@wnj.com; (iv) the

Office of the United States Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503

(Attn. Michael Maggio), email: michaeLv.maggio@usdoj.gov; (v) Rayman & Knight, 141 E

Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:

slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,

Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com.

SFGH submits that, in light of the nature of the relief requested, no other or further notice need be

provided.

       WHEREFORE, SFGH respectfully requests that this Court enter an order substantially in

the form attached as Exhibit F to this Fee Application:

       (a) Allowing and approving an administrative expense in the amount of $258,185.00,
           consisting of $258,150.00 for professional services rendered and $35.00 for actual and
           necessary expenses incurred by SFGH during the Application Period as the
           Committee's counsel;

       (b) Authorizing payment to SFGH of $51,630.00; reflecting the amounts approved under
           this Fee Application that were not previously paid pursuant to the Compensation Order;
           and

       (c) Providing SFGH with any additional relief as may be appropriate under the
           circumstances.
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                                    Respectfully submitted by,

Dated: December 2, 2020             JAFFE RAIT HEUER & WEISS, P.C.

                                    By:      /s/ Paul R. Hage
                                    Paul R. Hage (P70460)
                                    27777 Franklin Road, Suite 2500
                                    Southfield, MI 48034
                                    (248)351-3000
                                    plia&;e(a),i affel aw.com

                                    -and-

                                    SUGAR FELSENTHAL GRAIS &
                                    HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbrandess!msfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC
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                         Exhibit A
                (June Monthly Fee Statement)
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                                                                                                        10
                                                         30 N. LaSalle Street
                                                            Suite 3000
                                                         Chicago, IL 60602
                                                           (312)704-9400




                                                                                                                            Page: 1
      Official Committee of Unsecured Creditors                                                                          06/30/2020
      Barfly Ventures, LLC, et al.                                                                        Account No:    10836-001
      c/o Gordon Food Service, Inc.                                                                     Statement No:       262070
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration



                                                               Fees

                                                                                                                Hours
06/24/2020    MAB     Telephone call with John Lucas regarding case status (0.4); multiple
                      telephone conferences and e-mail correspondence with professional
                      working group regarding same (0.5).                                                         0.90      517.50

              EBV     Internal strategy communications with M. Brandess regarding next steps
                      (0.5)                                                                                       0.50      327.50

06/25/2020    EBV     Internal communications re SFGH working group re staffing, strategy,
                      assignments, and preliminary steps (3.6); various communications with
                      local counsel re next steps and division of labor (1.2); review pending first
                      day motions and comment on draft proposed orders for matters set for
                      hearing on June 29th (2.3); conference call with debtors' counsel; review
                      and revise draft Committee bylaws(0.9).                                                     8.00     5,240.00

              MSM Initial team planning telephone conference calls (0.7; 0.5-N/C) and related
                  internal correspondence (0.4).                                                                  0.40      274.00

              JPF    Video conference with internal team regarding assignment checklist (0.5 -
                     N/C)                                                                                         0.50         N/C

              MAB     Telephone conference with local counsel regarding case status and
                      upcoming status hearing (0.6); telephone conference and multiple e-mail
                      correspondence with John Lucas regarding same (1.2); review and revise
                      draft orders regarding multiple motions set for hearing on June 29, 2020
                      (0.8); telephone conference with professional working group regarding
                      multiple strategy memoranda, retention applications, and additional work
                      product (0.7); telephone conference with Debtors' professionals regarding
                      financial information (0.5); review Debtors' proposed budget (0.3).                         4.10     2,357.50

              JRO    Strategy conference with internal working group regarding initial
                     engagement issues, tasks to be addressed, and allocation of responsibility
                     for same (0.5-N/C); review and summarize filings set for hearing on 06/29
                     (2.1).                                                                                       2.10     1,123.50

06/26/2020    JRO    Strategy conference with internal working group regarding task list and
                     outstanding allocation of responsibilities (0.6-N/C); continue reviewing initial
                     filings and outstanding issues to be addressed by Committee under same
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      Official Committee of Unsecured Creditors                                                                      06/30/2020
                                                                                                      Account No:    10836-001
                                                                                                    Statement No:       262070
      General Case Administration


                                                                                                            Hours
                     (0.5).                                                                                  0.50       267.50

06/28/2020    EBV    Telephone conference with John Lucas regarding various issues (PPP,
                     upcoming hearing, committee FA) (0.5)                                                    0.50      327.50

06/29/2020    MAB    Telephone conference with professional working group regarding debtors'
                     operations and status hearing (1.2); multiple e-mail correspondence and
                     telephone conferences with John Lucas regarding information requests and
                     case status (0.7); multiple strategy telephone conferences and e-mail
                     correspondence with professional working group regarding same (0.8).                     2.70     1,552.50

              MAB    Telephone conference with Michael Maggio regarding case status (0.4 -
                     N/C).                                                                                    0.50         N/C

              EBV    Prepare for (0.6) and participate (0.7) status hearing; prepare for (0.3) an
                     participate in (0.4) call with LIST; develop list of topics to discuss with
                     debtors' counsel (0.7).                                                                  2.70     1,768.50

06/30/2020    MAB    Telephone conference with John Lucas and Elizabeth Vandesteeg
                     regarding numerous open issues (0.6); telephone conference with Sheldon
                     Stone regarding initial financial projections and go-forward approach (0.4);
                     e-mail correspondence with Sharon Murphy regarding open locations (0.2);
                     Strategy conference with Elizabeth Vandesteeg regarding sale process,
                     retention motions, and case status (0.2)                                                 1.40       805.00

              EBV    Attention to various case administration tasks and issues (0.8); internal
                     strategy conference with Michael Brandess regarding various issues to
                     discuss with debtors' counsel (0.2); strategy conference with John Lucas
                     regarding various Barfly issues (Mastodon retention, PPP funds, committee
                     professional retainers, sale procedures, APA) (0.6).                                     1.60     1,048.00
                     For Current Services Rendered                                                           25.40    15,609.00
                     Total Non-billable Hours                                                                 1.00

                                                         Recapitulation
              Timekeeper                                               Hours               Rate            Total
              Mark S. Melickian                                          0.40           $685.00         $274.00
              Elizabeth B. Vandesteeg                                   13.30            655.00         8,711.50
              Michael A. Brandess                                        9.10            575.00         5,232.50
              John R. O'Connor                                            2.60           535.00         1,391.00
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                                                        30 N. LaSalle Street
                                                           Suite 3000
                                                        Chicago, IL 60602
                                                          (312)704-9400




                                                                                                                      Page: 1
      Official Committee of Unsecured Creditors                                                                    06/30/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:   10836-002
      c/o Gordon Food Service, Inc.                                                                Statement No:      262071
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Expense



                                                           Expenses

06/30/2020            District Court for the Western District of Michigan - Pro Hac Vice admission fee
                      for Elizabeth Vandesteeg                                                                          35.00
                      Total Expenses                                                                                    35.00

                      Total Current Work                                                                                35.00


                      Balance Due                                                                                      $35.00




                      MAB/MSM/EBV/JPF/JRO

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                      PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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                      Case:20-01947^^AR Doc #:409r^LFiled: 12/02/2020
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                                                       Chicago, IL 60602
                                                         (312)704-9400




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      Official Committee of Unsecured Creditors                                                                      06/30/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-004
      c/o Gordon Food Service, Inc.                                                                 Statement No:        262072
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Investigation of Operations & Assets



                                                             Fees

                                                                                                            Hours
06/26/2020    JRO     Draft correspondence to debtors regarding informal information requests for
                      collateral analysis (0.6); email correspondence with Etahn Cohen regarding
                      same (0.2).                                                                             0.80      428.00

              MSM Multiple internal team email correspondence regarding initial research and
                  case issues (0.5); conference call with internal team regarding strategy
                  (0.6); initiate research and analysis of PPP fund issues (1.9).                             3.00     2,055.00

              JTW     Research PPP related issues (0.4)                                                       0.40       232.00

              MAB     Telephone conference with professional working group regarding case
                      status (0.4); e-mail correspondence with debtors' counsel regarding
                      proposed wage order (0.3).                                                              0.70       402.50

              EBV     SFGH strategy conference regarding PPP funds, research regarding same
                      and regarding collateral analysis (0.6)                                                 0.60       393.00

06/27/2020    EBV     Review and analyze FSB reservation of rights of rights regarding PPP funds
                      (0.4)                                                                                   0.40       262.00

              MAB     Review response filed by First Commercial Bank (0.3); e-mail
                      correspondence with professional working group regarding same (0.3-N/C).                0.30       172.50

06/28/2020    EBV     Continued analysis regarding PPP funds; strategy conference with Michael
                      Brandess regarding the same (0.4)                                                       0.40       262.00

              MSM Research and analysis of issues related to GUC distribution and PPP funds
                  (2.2); multiple e-mail correspondence with Jeremy Waitzman regarding
                  same (0.5 - N/C)                                                                            2.20     1,507.00

              JTW     Correspondence with M. Melickian regarding PPP Loan terms and
                      documentation (0.5)                                                                     0.50       290.00

06/29/2020    EBV     Attention to and analysis regarding PPP loan proceeds treatment in
                      bankruptcy (0.9); strategy conference with committee counsel team
                      regarding same (1.2)                                                                    1.20       786.00
                      Case:20-01947-jwb
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      Official Committee of Unsecured Creditors                                                                  06/30/2020
                                                                                                  Account No:    10836-004
                                                                                                Statement No:       262072
      Investigation of Operations & Assets


                                                                                                        Hours
              MSM Further research and analysis of PPP issues (2.3); video conference with
                  Jaffe Raitt team to discuss case status and strategy (1.2).                             3.50     2,397.50

              JTW    Research on intersection of PPP Loans and Bankruptcy (1.0)                           1.00      580.00

06/30/2020    JRO    Strategy conference with professional working group regarding collateral
                     analysis (0.4)                                                                       0.40      214.00

              MSM Videoconference call with Eric Novetsky and Jeremy Waitzman regarding
                  PPP matters (1.0); prepare notes and analysis from call with Eric Novetsky
                  (0.5).                                                                                  1.50     1,027.50

              JTW    Conference call with Eric Novetsky (Jaffe) and M. Melickian regarding
                     position on and use of PPP Loan proceeds (1.0)                                       1.00      580.00
                     For Current Services Rendered                                                       17.90    11,589.00

                                                        Recapitulation
              Timekeeper                                              Hours             Rate          Total
              Mark S. Melickian                                        10.20         $685.00      $6,987.00
              Elizabeth B. Vandesteeg                                   2.60          655.00       1,703.00
              Jeremy T. Waitzman                                        2.90          580.00       1,682.00
              Michael A. Brandess                                      1.00           575.00         575.00
              John R. O'Connor                                         1.20           535.00         642.00




                     MAB/MSM/EBV/JPF/JRO

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      Official Committee of Unsecured Creditors                                                                06/30/2020
      Barfly Ventures, LLC, et al.                                                              Account No:    10836-005
      do Gordon Food Service, Inc.                                                            Statement No:        262073
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH



                                                            Fees

                                                                                                       Hours
06/30/2020    JRO     Email correspondence with internal working group regarding updating
                      conflicts search (0.3).                                                           0.30       160.50
                      For Current Services Rendered                                                     0.30       160.50

                                                       Recapitulation
              Timekeeper                                             Hours             Rate         Total
              John R. O'Connor                                        0.30          $535.00       $160.50




                      MAB/MSM/EBV/JPF/JRO

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      Official Committee of Unsecured Creditors                                                                     06/30/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-006
      c/o Gordon Food Service, Inc.                                                                Statement No:       262074
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Application - other professionals



                                                              Fees

                                                                                                            Hours
06/25/2020    MAB     Multiple e-mail correspondence and telephone conferences with
                      prospective financial advisors (0.9).                                                  0.90       517.50

06/26/2020    MAB     Multiple e-mail correspondence with prospective financial advisors (0.6);
                      telephone conference with Sheldon Stone regarding same (0.3); review
                      issue list regarding Mastodon retention and provide comments to same
                      (0.5).                                                                                 1.40       805.00

              EBV     Attention to ongoing analysis regarding Mastodon retention terms (0.4);
                      research regarding l-banker market standards (0.4).                                    0.80       524.00

06/27/2020    MAB     Multiple e-mail correspondence with committee regarding financial advisory
                      firms (0.4).                                                                           0.40       230.00

              EBV     Communications with committee regarding financial advisor (0.4)                        0.40       262.00

06/29/2020    MAB     Multiple e-mail correspondence with professional working group regarding
                      Mastodon retention issues (0.3).                                                       0.30       172.50

              EBV     Communications with Amherst regarding concerns regarding terms of
                      Mastodon retention (0.2)                                                               0.20       131.00

06/30/2020    EBV     Communications with Amherst regarding retention questions (0.2)                        0.20       131.00
                      For Current Services Rendered                                                          4.60     2,773.00

                                                         Recapitulation
              Timekeeper                                               Hours              Rate           Total
              Elizabeth B. Vandesteeg                                    1.60          $655.00       $1,048.00
              Michael A. Brandess                                        3.00           575.00        1,725.00
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      Official Committee of Unsecured Creditors                                                                     06/30/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-009
      do Gordon Food Service, Inc.                                                                 Statement No:        262075
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Budget & Financial Issues



                                                            Fees

                                                                                                           Hours
06/25/2020    EBV     Conference call with debtors Counsel and Rock Creek (0.3); review debtor's
                      13 week cash flow projections (0.8)                                                    1.10      720.50
                      For Current Services Rendered                                                          1.10      720.50

                                                        Recapitulation
              Timekeeper                                              Hours            Rate              Total
              Elizabeth B. Vandesteeg                                  1.10         $655.00            $720.50




                      MAB/MSM/EBV/JPF/JRO

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      Official Committee of Unsecured Creditors                                                                        06/30/2020
      Barfly Ventures, LLC, et al.                                                                      Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                                   Statement No:       262072
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                              Fees

                                                                                                              Hours
06/24/2020    MAB    Telephone conference with creditors' committee regarding case status and
                     next steps (0.8).                                                                          0.80      460.00

              EBV    Prelim committee call (0.8); introductory call with debtors' counsel and M.
                     Brandess (0.4)                                                                             1.20      786.00

06/25/2020    EBV    Prepare for and participate in strategy conference with committee (0.8)                    0.80      524.00

              MAB    Telephone conference and multiple e-mail correspondence with committee
                     regarding case status and next steps, including retention of financial advisor
                     (1.3); review and revise committee bylaws (0.7).                                           2.00     1,150.00

              JRO    Draft committee bylaws (2.1); email correspondence to internal working
                     group regarding same (0.1); revise and update committee manual (1.1).                      3.30     1,765.50

06/26/2020    MAB    Telephone conference with committee regarding financial advisors and
                     case status (1.0); multiple e-mail correspondence with committee regarding
                     same (0.6); telephone conference with committee member regarding
                     bylaws (0.3); revise bylaws and e-mail correspondence with committee
                     regarding same (0.5).                                                                      2.40     1,380.00

              JRO    Work on contact list (0.6); revise committee manual (0.7).                                 1.30      695.50

              EBV    Prepare for (0.3) and participate in (1.0) committee call.                                 1.30      851.50

06/29/2020    MAB    Prepare agenda and materials for committee call (0.6); telephone
                     conference with committee regarding case status, including sale efforts and
                     PPP funds (0.9).                                                                           1.50      862.50

              EBV    Develop agenda for (0.2) and participate in (0.7) committee call.                          0.90      589.50
                     For Current Services Rendered                                                             15.50     9,064.50

                                                         Recapitulation
              Timekeeper                                               Hours                Rate             Total
              Elizabeth B. Vandesteeg                                   4.20             $655.00        $2,751.00
              Michael A. Brandess                                       6.70              575.00         3,852.50
              John R. O'Connor                                          4.60              535.00         2,461.00
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      Official Committee of Unsecured Creditors                                                                     06/30/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-012
      c/o Gordon Food Service, Inc.                                                                Statement No:        262077
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Asset Sales



                                                             Fees

                                                                                                           Hours
06/26/2020    JRO     Telephone call to counsel for prospective asset purchaser (0.1); email
                      correspondence with internal working group regarding same (0.1).                       0.20      107.00

              MAB     E-mail correspondence with Jason Torf and Michael Small regarding
                      potential sale opportunity (0.2); e-mail correspondence with Jack O'Connor
                      regarding same (0.1).                                                                  0.30      172.50

06/29/2020    JRO    Email correspondence with internal working group regarding potential asset
                     purchaser (0.2).                                                                        0.20      107.00
                     For Current Services Rendered                                                           0.70      386.50

                                                         Recapitulation
              Timekeeper                                               Hours             Rate            Total
              Michael A. Brandess                                       0.30          $575.00          $172.50
              John R. O'Connor                                          0.40           535.00           214.00




                     MAB/MSM/EBV/JPF/JRO

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                             Exhibit B
                    (July Monthly Fee Statement)
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                         Chapter 11
                                         i
    BARFLY VENTURES, LLC, et al,                         Case No. 20-01947-jwb

               Debtors.                                  (Jointly Administered)



               MONTHLY FEE STATEMENT OF SUGAR FELSENTHAL GRAIS & HELSINGERLLP
             FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF EXPENSES
             AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR JULY 2020


    Name of Applicant:                           Sugar Felsenthal Grais & Helsinger LLP

    Authorized to provide services to:           Official Committee of Unsecured Creditors

    Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:     July 2020

    Amount of compensation sought as actual,     $85,500.002
    reasonable, and necessary:                   80% = $68,400.00
                                                 20% = $17,100.00

    Amount of expense reimbursement sought:      $0.00

    Total interim request:                       $68,400.00


1The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).

2 Pursuant to the Committee's retention of SFGH, SFGH invoices the Committee at a blended
hourly rate of $500.


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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /S/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     phage@,i affelaw, com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbradness@sfgh, com
                                     evandestee g@sfgh.com

                                     Counsel for the Committee

Dated: August 14, 2020,
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                                         SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                   30 N. LaSalle Street
                                                      Suite 3000
                                                   Chicago, IL 60602
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      Official Committee of Unsecured Creditors                                                                   07/31/2020
      Barfly Ventures, LLC, et al.                                                                 Account No:    10836-001
      c/o Gordon Food Service, Inc.                                                              Statement No:       262514
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                                Fees

                                                                                                          Hours
07/01/2020    MAB     E-mail correspondence with John Lucas regarding retention applications,
                      and sale procedures (0,3); strategy conference with Elizabeth Vandesteeg
                      regarding case status (0.2).                                                         0.50      287.50

              EBV     Strategy conference with Michael Brandess regarding additional requests
                      from debtors counsel (0.2); ongoing internal case administration issues
                      (staffing, conflicts, etc.) (0.3).                                                   0.50       327.50

07/02/2020    EBV     Strategy conference and email correspondence with Michael Brandess and
                      James Morden of Amherst Partners regarding Mastodon and debtor
                      information (1.1).                                                                   1.60     1,048.00

              MAB     Email correspondence with John Lucas regarding Mastodon meeting (0.2);
                      telephone conference with Jason Torf regarding case status (0.3);
                      telephone conference with James Morden regarding Mastodon (0.3);
                      strategy conference with Committee professional working group regarding
                      case status (1.1).                                                                   1.90     1,092.50

              MSM Draft email to Amherst regarding liquidation analysis options and
                  parameters (0.5).                                                                        0.50       342.50

07/03/2020    MAB     Review Mastodon's draft waterfall (0.6)                                              0.60       345.00

07/06/2020    EBV     Strategy conferences with Michael Brandess regarding to-do/task list and
                      assignments (0.4).                                                                   0.40       262.00

              MSM Work on analysis and development of Committee recovery strategies (3.6).                 3.60     2,466.00

              JRO     Strategy conference with internal working group regarding status of
                      outstanding tasks and allocation of responsibility for same (0.2).                   0.20       107.00

              MAB     Multiple strategy conferences with Elizabeth Vandesteeg regarding case
                      status (0.4).                                                                        0.40       230.00

07/07/2020    MSM Telephone call with Michael Brandess regarding case matters and strategy
                  (0.6); work on analysis and development of Committee recovery strategies,
                  including analysis of PPP fund details and evolving amendments (3.7).                    4.30     2,945.50
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       Official Committee of Unsecured Creditors                                                                         07/31/2020
                                                                                                          Account No:    10836-001
                                                                                                        Statement No:       262514
       General Case Administration


                                                                                                                Hours
               MAB    Multiple telephone conferences with professional working group regarding
                      potential plan, sale status, and next steps (0.6).                                          0.60      345.00

07/08/2020     MSM Work on analysis and development of Committee recovery strategies (3.2);
                   multiple email correspondence with Committee professional working group
                   regarding same (0.7).                                                                          3.90     2,671.50

07/09/2020     NB     Review and compile notice scheduling 341 meeting and docket date
                      regarding same (0.2); review and compile order granting motion to shorten
                      objection period (0,1), compile pertinent information for virtual attendance at
                      hearing on bidding and sale procedures motion and transmit to internal
                      working group (0.2), docket hearing and objection dates for same (0.2).                     0.70      175.00

               MSM Continue research, analysis, and drafting of memorandum on Committee
                   recovery strategies (5.8).                                                                     5.80     3,973.00

07/10/2020     MAB    Email correspondence and telephone conference with John Lucas
                      regarding Mastodon retention, sale process, and general case status (0.5).                  0.50      287.50

               EBV    Review and revise draft correspondence to debtors' counsel regarding open
                      items (0.2).                                                                                0.20      131.00

07/12/2020     MAB    Multiple email correspondence with John Lucas regarding professionals' call
                      (0.2).                                                                                      0.20      115.00

07/14/2020    MAB     Telephone conference with James Morden regarding financial information,
                      sale, and committee inquiry (0.3).                              1
                                                                                                                  0.30      172.50

07/16/2020    EBV     Communications among committee professionals regarding bar date and
                      overall case status (0.7).                                                                  0.70      458.50

07/17/2020    MAB    Participate in 341 creditors' meeting (0.9); email correspondence with
                     professional working group regarding same (0.2); review lift stay motion and
                     email correspondence with Sheldon Stone and James Morden regarding
                     same (0.3); email correspondence with John Lucas regarding same and
                     strategy conference with Committee professional working group regarding
                     case status (0.5).                                                                           1.90     1,092.50

              EBV    Call with Michael Brandess and Paul Hage regarding overall strategy call
                     (0.5-N/C).                                                                                   0.50         N/C

              MSM Telephone call with professional working group regarding Barfly strategy
                  (0.3); work on creditor distribution analysis and strategy (1.1).                               1.40      959.00

07/19/2020    MSM Work on development of creditor distribution options (4.5); telephone call
                  with Michael Brandess regarding creditor distribution options and strategy
                  (0.4).                                                                                          4.90    3,356.50

              MAB    Telephone call with Mark Melickian regarding creditor distribution strategy
                     (0.4 - N/C)                                                                                  0.40      230.00

07/20/2020    MSM Further work on creditor distribution options and analysis (2.3).                               2.30    1,575.50

              EBV    Email correspondence and telephone conference with John Lucas, debtors'
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      Official Committee of Unsecured Creditors                                                                    07/31/2020
                                                                                                    Account No:    10836-001
                                                                                                  Statement No:        262514
      General Case Administration


                                                                                                          Hours
                     counsel regarding various issues (PPP funds, professional fees, potential
                     settlement strategy, etc.) (0.2); strategy conference with professional
                     working group regarding same (0.4).                                                    0.60      393.00

07/21/2020    MSM Telephone call with Michael Brandess regarding committee strategy issues
                     (0.2).                                                                                 0.20      137.00

              MAB    Strategy conference with Mark Melickian regarding case status (0.2).                   0.20      115.00

              EBV    Strategy conference with professional working group regarding potential
                     bankruptcy exit options (0.3)                                                          0.30      196.50

07/22/2020    EBV    Review and analyze notes from 341 meeting (0.2)                                        0.20      131.00

07/28/2020    NB     Review and compile for attorney review notices of hearing with regard to
                     First Savings Bank's objection to appointment of committee professionals
                     and objection to application for professional fees and docket hearing date
                     regarding same (0.3).                                                                  0.30        75.00

07/29/2020    MAB    Telephone conference with John Lucas regarding PPP issue and sale (0.5);
                     e-mail correspondence with committee professional working group
                     regarding same (0.2).                                                                  0.70       402.50

              EBV    Various communications with Committee professionals regarding debtors'
                     ongoing discussions and negotiations with secured and PPP lenders (0.4).               0.40       262.00

07/31/2020    MAB    Telephone conference with John Lucas regarding sale, PPP issue, and
                     case status (0.3); strategy conference with professional working group
                     regarding same (0.3).                                                                  0.60       345.00
                     For Current Services Rendered                                                         41.80    27,053.00
                     Total Non-billabie Hours                                                               0.50

                                                        Recapitulation
              Timekeeper                                              Hours              Rate           Total
              MarkS. Melickian                                         26.90          $685.00      $18,426.50
              Elizabeth B. Vandesteeg                                   4.90           655.00        3,209.50
              Michael A. Brandess                                       8.80           575.00        5,060.00
              John R. O'Connor                                          0.20           535.00          107.00
              Nancy Bailey                                              1.00           250.00          250.00


                     Total Current Work                                                                             27,053.00
                     Case:20-01947-jwb            Doc #:409 Filed: 12/02/2020           Page 30 of 88
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                                                    Chicago, IL 60602
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                                                                                                                    Page: 1
      Official Committee of Unsecured Creditors                                                                  07/31/2020
      Barfly Ventures, LLC, et al.                                                                Account No:    10836-003
      c/o Gordon Food Service, Inc.                                                             Statement No:       262515
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Schedules & Reports


                                                              Fees

                                                                                                        Hours
07/10/2020    KHF     Review schedules and prepare report of all assets and liabilities and
                      committee member claims in the schedules filed (2.4)                                2.40

              MAB     Email correspondence and telephone conference with Kyle Fleck regarding
                      schedules (0.2); review and revise summary of same (0.9); email
                      correspondence with committee regarding same (0.4); email
                      correspondence with James Morden and Sheldon Stone regarding analysis
                      of same (0.3).                                                                      1.80

07/13/2020    MAB    E-mail correspondence with Sheldon Stone regarding schedules (0.3).                  0.30
                     For Current Services Rendered                                                        4.50     1,675.50

                     Total Current Work                                                                            1,675.50




                     FOR YOUR CONVENIENCE, PLEASE PAY THIS INVOICE ONLINE THROUGH
                     "PAY MY BILL" LINK AT WWW.SFGH.COM
                     AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                     PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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                                                                                                                        Page: 1
      Official Committee of Unsecured Creditors                                                                      07/31/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-004
      c/o Gordon Food Service, Inc.                                                                 Statement No:        262516
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055            '

      Attn: Sharon Murphy, Director of Credit

      Investigation of Operations & Assets


                                                               Fees

                                                                                                             Hours
07/01/2020    EMC Review loan agreement, loan agreement schedules and UCC filings (0.4);
                  discuss situation with respect to liens on collateral with Jack O'Connor (0.7).             1.10       715.00

              JRO     Email correspondence (0.1) and strategy conference (0.7) with Etahn
                      Cohen regarding collateral analysis; email correspondence from Etahn
                      Cohen following same relating to potential lien issues (0.1).                           0.80       428.00

07/02/2020    MAB     Multiple strategy telephone conferences and e-mail correspondence with
                      Mark Melickian regarding PPP funds (0.5); email correspondence with
                      Sheldon Stone regarding request for store-by-store profitability analysis
                      (0.3); Research, analysis, and internal team communications regarding PPP
                      fund issues (1.6).                                                                      2.40     1,380.00

              JRO     Revise document request letter to debtors' counsel (0.3); email
                      correspondence to internal working group regarding same (0.1); research
                      perfection issues relating to liquor and hospitality licenses (0.6).                    1.00       535.00

              EBV     Ongoing analysis and strategy regarding PPP funds and liquidation analysis
                      (0.5).                                                                                  0.50       327.50

07/07/2020    JTW     Research and analyze priority issues for PPP Loans under CARES Act and
                      regulations (2.2)                                                                       2.20     1,276.00

07/08/2020    EBV     Ongoing PPP analysis regarding use and potential forgiveness of funds
                      (0.8).                                                                                  0.80       524.00

              JRO     Research lien perfection issues for licensing (0.7).                                    0.70       374.50

              JRO     Email correspondence with internal working group regarding updating
                      conflicts search and follow up for same (0.2).                                          0.20       107.00

07/10/2020    EBV     Ongoing PPP research review and analysis (0.7).                                         0.70       458.50

              MAB     Telephone conference with Sheldon Stone regarding financial reporting
                      (0.6).                                                                                  0.60       345.00

07/15/2020    EBV     Email correspondence with Rock Creek and counsel to Debtors and
                      secured creditor regarding requests for financial information (0.2).                    0.20       131.00
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      Official Committee of Unsecured Creditors                                                                      07/31/2020
                                                                                                      Account No:    10836-004
                                                                                                    Statement No:       262516
      Investigation of Operations & Assets


                                                                                                            Hours

07/19/2020    MAB    E-mail correspondence and strategy conference with Mark Melickian
                     regarding PPP funds (0.3); review memorandum regarding same (0.7).                       1.00      575.00

07/21/2020    EBV    Email correspondence with Ron Gold, counsel to FSB, regarding PPP fund
                     usage for professional fees (0.4); review and begin to develop strategy
                     regarding FSB objection to committee retainers from PPP funds (0.7);
                     strategy conference with John Lucas regarding FSB objection to PPP
                     payments (0.5).                                                                          1.60     1,048.00

              MAB    Draft response to First Savings Bank limited objection (2.2).                            2.20         N/C

07/22/2020    MAB    Multiple e-mail correspondence with committee members regarding PPP
                     issue (0.4); Communications with John Lucas regarding same (0.4)                         0.80       460.00

              EBV    Review and revise FSB objection response (3.9).                                          3.90         N/C

              MAB    Draft response to First Savings Bank limited objection (4.1 - N/C); multiple
                     e-mail correspondence and telephone conferences with debtors and
                     committee professionals regarding same (0.6 - N/C).                                      4.70         N/C

07/24/2020    MAB    Multiple strategy conferences with committee working group regarding PPP
                     issue (1.2).                                                                             1.20       690.00

              EBV    Communications with Paul Hage and John Lucas regarding PPP strategy
                     (0.6); develop strategy with respect to FSB objections to use of PPP funds
                     (2.1).                                                                                   2.70     1,768.50

              MSM Multiple email correspondence with internal team regarding PPP fund
                  issues (0.4).                                                                               0.40       274.00

07/27/2020    MAB    Strategy conference and multiple e-mail correspondence with committee
                     professionals regarding PPP issue (1.0); draft response to First Saving
                     Bank's objections and reservations of rights (1.2).                                      2.20     1,265.00

              MSM Call with Michael Brandess regarding FSB motions and response (0.2);
                  conference call with committee team to discuss FSB motion and response
                     (0.8).                                                                                   1.00       685.00

              EBV    Communications with debtors' counsel regarding settlement regarding
                     retention and PPP strategy (0.2); call with committee professionals
                     regarding PPP strategy (0.8).                                                            1.00       655.00

07/28/2020    MAB    Draft response to First Saving Bank's objections and reservations of rights
                     (3.6); telephone conference with committee and debtors' professionals
                     regarding same (0.7).                                                                    4.30     2,472.50

              EBV    Emails (0.3) and telephone conference (0.8) with debtor and committee
                     counsel coordinating response regarding use of PPP funds and overall
                     strategy (1.1).                                                                          2.20     1,441.00

07/29/2020    MAB    Strategy conference with committee professionals regarding PPP response
                     (0.4); strategy conference with Paul Hage regarding same (0.3); review FSB
                     objection to Debtors' professional fees (0.3).                                           1.00       575.00
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      Official Committee of Unsecured Creditors                                                                   07/31/2020
                                                                                                   Account No:    10836-004
                                                                                                 Statement No:        262516
      Investigation of Operations & Assets


                                                                                                         Hours

              MSM Review and further research and analysis for response to FSB motion
                  regarding use of PPP funds (3.3).                                                        3.30     2,260.50

07/30/2020    MSM Research and expansion of Committee response to FSB objections (4.6).                    4.60     3,151.00

07/31/2020    EBV    Review and revise draft response to FSB regarding use of PPP funds (1.1);
                     call with Michael Brandess regarding same (0.2); emails with debtors'
                     counsel regarding same (0.2).                                                         1.50       982.50
                     For Current Services Rendered                                                        40.00    24,904.50
                     Total Non-billable Hours                                                             10.80

                                                       Recapitulation
              Timekeeper                                             Hours           ' Rate            Total
              Mark S. Melickian                                       9.30         $685.00         $6,370.50
              Elizabeth B. Vandesteeg                               11.20           655.00          7,336.00
              Etahn M. Cohen                                          1.10          650.00            715.00
              Jeremy T. Waitzman                                      2.20          580.00          1,276.00
              Michael A. Brandess                                    13.50          575.00          7,762.50
              John R. O'Connor                                        2.70          535.00          1,444.50


                      Total Current Work                                                                           24,904.50




                      FOR YOUR CONVENIENCE, PLEASE PAY THIS INVOICE ONLINE THROUGH
                      "PAY MY BILL" LINK AT WWW.SFGH.COM
                      AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                      PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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      Official Committee of Unsecured Creditors                                                                     07/31/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-005
      c/o Gordon Food Service, Inc.                                                                Statement No:        262517
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                                 Fees

                                                                                                           Hours
07/02/2020    MAB     Revise retention applications (1.3).                                                  1.30       747.50

07/06/2020    EBV     Review and revise draft engagement letters and retentions applications for
                      committee professionals (0.8); email correspondence with committee
                      professionals regarding the same (0.4).                                                1.20      786.00

07/07/2020    MAB     E-mail correspondence and telephone conference with Paul Hage regarding
                      supplemental disclosures (0.6).                                                        0.60       345.00

07/08/2020    MAB     Review internal report regarding potential conflicts for supplemental
                      disclosures (1.3).                                                                     1.30       747.50

07/10/2020    MAB     Prepare SFGH monthly statement (0.5).                                                  0.50       287.50

07/13/2020    MAB     Draft SFGH June interim fee statement (0.7).                                           0.70       402.50

07/22/2020    MAB     Review supplemental declarations (0.4).                                                0.40       230.00

              EBV     Review SFGH supplemental declaration of disinterestedness (0.4).                       0.40         N/C

              MSM Review and comment on draft response to FSB objection to committee
                  retainers (0.5).                                                                           0.50       342.50
                      For Current Services Rendered                                                          6.50     3,888.50
                      Total Non-billable Hours                                                               0.40

                                                             Recapitulation
              Timekeeper                                                   Hours           Rate          Total
              Mark S. Melickian                                             0.50        $685.00        $342.50
              Elizabeth B. Vandesteeg                                      1.20          655.00         786.00
              Michael A. Brandess                                          4.80          575.00       2,760.00


                      Total Current Work                                                                              3,888.50
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                                          SUGAR FELSENTHAL GRAIS & HELSINGER LLP
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      Official Committee of Unsecured Creditors                                                                      07/31/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-006
      do Gordon Food Service, Inc.                                                                  Statement No:       262518
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Application - other professionals


                                                              Fees

                                                                                                            Hours
07/01/2020    MAB     E-mail correspondence with professional group regarding potential
                      objection to Mastadon retention application (0.2); Multiple e-mail
                      correspondence with Lior Evan regarding Mastodon retention (0.4)                        0.60      345.00

              EBV     Communications with Paul Hage regarding retention and retainer issue
                      (0.3).                                                                                  0.30      196.50

              EBV     Call with James Morden regarding Rock Creek (0.1)                                       0.10        65.50

07/02/2020    MAB     Multiple email correspondence with Elizabeth Vandesteeg and John Lucas
                      regarding Mastodon retention (0.4); email correspondence with James
                      Morden regarding retention issues (0.4); email correspondence with Judith
                      Miller regarding potential objection to Mastodon retention (0.2); email
                      correspondence with James Morden regarding same (0.4).                                  1.40       805.00

07/03/2020    MAB     Telephone conference with debtors and committee professionals regarding
                      Mastodon retention (1.4); telephone conference with committee
                      professionals regarding next steps (0.2).                                               1.60       920.00

              EBV     Develop Mastodon proposal regarding terms (0.8); call with debtors'
                      counsel, Mastodon, and Amherst regarding terms of Mastodon retention
                      (1.4); follow up with James Morden and Michael Brandess regarding the
                      same (0.2)                                                                              2.40     1,572.00

07/05/2020    MAB     Draft issues demand regarding Mastodon retention (0.7).                                 0.70       402.50

07/06/2020    MAB     Draft letter to debtors regarding Mastodon retention (1.6); e-mail
                      correspondence with committee regarding same (0.3).                                     1.90     1,092.50

              EBV     Continue to develop strategy and response regarding objections to terms of
                      Mastodon retention (1.7); various communications with committee
                      professionals regarding the same (0.4).                                                 2.10     1,375.50

07/07/2020    MAB     Email correspondence with Lior Evan regarding Mastodon retention issues
                      (0.2); finalize letter and email correspondence with debtors' professionals
                      regarding same (0.9); telephone conference with John Lucas and Robert
                      Hersch regarding same (0.4); email correspondence with committee
                      professional working group regarding same (0.3).                                        1.80     1,035.00
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      Official Committee of Unsecured Creditors                                                                    07/31/2020
                                                                                                    Account No:    10836-006
                                                                                                  Statement No:        262518
      Employment & Fee Application - other professionals


                                                                                                          Hours

07/08/2020    EBV    Emails correspondence with committee professionals regarding Mastodon
                     retention (0.2)                                                                        0.20       131.00

07/09/2020    MAB    Telephone conference with debtors' and lenders' professionals regarding
                     Mastodon retention (0.6); telephone conference with John Lucas regarding
                     same (0.1); e-mail correspondence with Robert Hersch regarding Mastodon
                     retention issues (0.2); telephone conference with Todd Schwartz regarding
                     same (0.4); strategy conference with Elizabeth Vandesteeg regarding same
                     (0.4)                                                                                  1.70       977.50

              EBV    Review Mastodon response to committee objection/requests regarding
                     Mastodon retention (0.4); strategy conference with Michael Brandess
                     regarding terms of agreed concessions from Mastodon regarding retention
                     (0.4).                                                                                 0.80       524.00

07/10/2020    MAB    Email correspondence and telephone conference with committee
                     professional working group regarding Mastodon retention language (0.4).                0.40       230.00

              EBV    Draft correspondence to Mastodon regarding terms of agreed revisions to
                     engagement letter agreement (1.1); communications with debtors' counsel
                     regarding same (0.7).                                                                  1.80     1,179.00

07/23/2020    MAB    Review debtors' professionals' monthly fee statements (0.8).                           0.80       460.00

07/30/2020    MAB    Email correspondence with John Lucas regarding Mastodon retention order
                     (0.1); strategy conference with Elizabeth Vandesteeg regarding same (0.3).             1.10       632.50
                     For Current Services Rendered                                                         19.70    11,943.50

                                                        Recapitulation
              Timekeeper                                              Hours            Rate              Total
              Elizabeth B. Vandesteeg                                  7.70         $655.00          $5,043.50
              Michael A. Brandess                                     12.00          575.00           6,900.00


                     Total Current Work                                                                             11,943.50
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      Official Committee of Unsecured Creditors                                                               07/31/2020
      Barfly Ventures, LLC, et al.                                                             Account No:    10836-008
      c/o Gordon Food Service, Inc.                                                          Statement No:        262519
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Claims Analysis & Objections


                                                             Fees

                                                                                                     Hours
07/19/2020    MAB     Review and revise motion to establish claims bar date (0.6).                     0.60

              EBV     Communications with committee professionals regarding bar date (0.2)             0.20
                      For Current Services Rendered                                                    0.80      476.00

                      Total Current Work                                                                         476.00




                      MAB/MSM/EBV/JPF/JRO

                     FOR YOUR CONVENIENCE, PLEASE PAY THIS INVOICE ONLINE THROUGH
                     "PAY MY BILL" LINK AT WWW.SFGH.COM
                     AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                     PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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      Official Committee of Unsecured Creditors                                                                         07/31/2020
      Barfly Ventures, LLC, et al.                                                                       Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                                    Statement No:       262520
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                               Fees

                                                                                                               Hours
07/01/2020    MAB     Draft multiple e-mail memorandum to committee regarding case update
                      (0.8); e-mail correspondence and telephone conference with Craig Hall
                      regarding professional retention agreements (0.6); e-mail correspondence
                      with committee regarding committee meeting and draft agenda for same
                      (0.8).                                                                                     2.20     1,265.00

07/02/2020    EBV     Prepare for (0.2) and participate in (0.6) committee call; follow-up call with
                      committee member regarding retention (0.3)                                                 1.10       720.50

              MAB     Prepare agenda for committee meeting (0.3); participate in committee call
                      (0.5); telephone conference with Doug DeKock regarding leases (0.3).                       1.10       632.50

07/03/2020    MAB     E-mail memorandum with committee regarding sales procedures and
                      Mastodon retention (0.5).                                                                  0.50       287.50

07/08/2020    EBV     Review and revise agenda for upcoming committee (0.3)                                      0.30       196.50

07/09/2020    MAB     Draft agenda for committee meeting (0.4); participate in committee call
                      (0.6).                                                                                     1.00       575.00

              EBV     Prepare for (0.2) and participate in (0.7) committee call.                                 0.90       589.50

07/13/2020    MAB     Telephone conference and multiple e-mail correspondence with Joanne
                      Toth regarding Corrigan claim (0.4); multiple e-mail correspondence with
                      Doug DeKock regarding landlord issues (0.3); draft e-mail memorandum to
                      committee regarding sale (0.3).                                                            1.00       575.00

07/14/2020    EBV     Review and revise agenda for committee call (0.2); prepare for (0.3) and
                      participate in (0.5) weekly committee call.                                                1.00       655.00

              MAB     Draft agenda and e-mail correspondence with committee regarding same
                      (0.4); participate in committee weekly meeting (0.6); e-mail correspondence
                      with Doug DeKock and James Morden regarding lease issue (0.2).                             1.20       690.00

07/15/2020    MAB     Telephone conference with Lior Evan regarding potential creditor
                      distributions (0.1).                                                                       0.10        57.50

              EBV     Email correspondence updating committee on negotiations regarding APA
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      Official Committee of Unsecured Creditors                                                                      07/31/2020
                                                                                                      Account No:    10836-011
                                                                                                    Statement No:        262520
      Committee Meetings & Governance


                                                                                                            Hours
                     (0.2)                                                                                   0.20       131.00

07/16/2020    MAB    Draft email memorandum to committee regarding case update (0.4).                         0.40      230.00

07/17/2020    MAB    Draft email memorandum to committee regarding case update, reservations
                     of rights, and sale status (0.4).                                                        0.40      230.00

07/18/2020    MAB    Draft e-mail memorandum to committee regarding bid procedures hearing
                     and asset purchase agreement (0.6).                                                      0.60      345.00

07/20/2020    MAB    Draft agenda for committee meeting (0.2); email correspondence with
                     Sheldon Stone regarding same (0.1).                                                      0.30      172.50

07/21/2020    EBV    Prepare for (0.2) and participate in (0.8) standing weekly committee call.               1.00      655.00

              MAB    Email correspondence with committee regarding set call (0.2); participate in
                     weekly committee call (0.8); multiple follow up email correspondence with
                     committee regarding case status (0.4).                                                   1.40      805.00

07/24/2020    MAB    Draft e-mail memorandum to committee regarding case status (0.4).                        0.40      230.00

07/28/2020    EBV    Committee weekly standing call (0.7)                                                     0.70      458.50

              MAB    Draft agenda for committee meeting (0.4); participate in same (0.7).                     1.10      632.50

07/31/2020    MAB    Multiple email correspondence with committee regarding response to First
                     Savings Bank filings (0.4).                                                              0.40      230.00
                     For Current Services Rendered                                                           17.30    10,363.50

                                                        Recapitulation
              Timekeeper                                              Hours               Rate            Total
              Elizabeth B. Vandesteeg                                   5.20           $655.00        $3,406.00
              Michael A. Brandess                                      12.10            575.00         6,957.50


                     Total Current Work                                                                               10,363.50
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      Official Committee of Unsecured Creditors                                                                        07/31/2020
      Barfly Ventures, LLC, et al.                                                                      Account No:    10836-012
      do Gordon Food Service, Inc.                                                                    Statement No:        262521
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Asset Sales


                                                              Fees

                                                                                                              Hours
07/01/2020    JRO    Telephone call to (0.1) and telephone call from (0.1) Michael Small
                     regarding potential asset purchaser.                                                       0.20      107.00

07/02/2020    EBV    Communications with SFGH working group regarding potential buyer (0.2)                     0.20      131.00

              MAB    Email correspondence with professional working group regarding sale
                     inquiry (0.3-N/C).                                                                         0.30         N/C

              JRO    Telephone conference with counsel to potential asset purchaser (0.2);
                     conference with Michael Brandess regarding same (0.1); email
                     correspondence to internal working group summarizing potential asset
                     purchaser (0.2).                                                                           0.50      267.50

07/03/2020    MAB E-mail correspondence with John Lucas regarding sale procedures (0.2).                        0.20      115.00

07/06/2020    EBV    Analysis regarding time for various sale- related dates and hearings (0.3);
                     communications with debtors' counsel regarding the same (0.2).                             0.50       327.50

07/09/2020    EBV    Begin review and analysis of stalking horse asset purchase agreement
                     (0.4); Prepare for (0.5) and participate in (0.5) call with Mastodon, debtors'
                     counsel; attention to next steps and tasks regarding sale motion, APA,
                     Mastodon (0.3).                                                                            1.70     1,113.50

              MSM Telephone call with Michael Brandess and Elizabeth Vandesteeg regarding
                  case matters including draft asset purchase agreement from lending group
                      (0.2).                                                                                    0.20       137.00

07/10/2020    MSM Review, analyze, and prepare comments to draft asset purchase agreement
                  and proposed bid procedures (3.4); draft cover email to Michael Brandess
                  with comments to APA and bid procedures (0.2).                                                3.60     2,466.00

              EBV     Strategy conference and emails with committee professionals regarding
                      next steps regarding sale and Mastodon and need to discuss same with
                      debtors' counsel (0.7); Attention to Amherst comments to APA and bid
                      procedures (0.3)                                                                          1.00       655.00

07/12/2020    MAB     Multiple email correspondence with committee professionals regarding bid
                      procedures (0.3).                                                                         0.30       172.50
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       Official Committee of Unsecured Creditors                                                                    07/31/2020
                                                                                                     Account No:    10836-012
                                                                                                   Statement No:       262521
       Asset Sales


                                                                                                           Hours

07/13/2020     MAB    Review and revise bid procedures (0.8); review and revise asset purchase
                      agreement (1.4); e-mail correspondence with John Lucas regarding same
                      (0.2); telephone conference with debtors' professionals regarding asset
                      purchase agreement (0.8).                                                              3.20     1,840.00
07/14/2020     EBV    Strategy conferences with Michael Brandess regarding next steps regarding
                      APA and need for potential objection regarding same (0.5); communications
                      with Amherst regarding cure costs analysis (0.2); prepare for (0.3) and
                      engage in (1.3) call with counsel for secured creditor regarding APA.                  2.30     1,506.50

               MAB    Multiple e-mail correspondence and telephone conference with Todd
                      Schwartz, Nathan Gimpel, and Elizabeth Vandesteeg regarding stalking
                      horse APA (1.3); post-call strategy conference with Elizabeth Vandesteeg
                      regarding same (0.5); e-mail correspondence with John Lucas regarding bid
                      procedures objection deadline (0.1); e-mail correspondence with Paul Hage
                      regarding same (0.1).                                                                  2.00     1,150.00
07/15/2020    MAB    Multiple e-mail correspondences and strategy conferences with committee
                     professionals regarding information needed for sale analysis (1.6); e-mail
                     correspondence with John Lucas regarding same (0.2); e-mail
                     correspondence with Todd Schwartz regarding same (0.1); telephone
                     conference with Todd Schwartz and Nathan Gimpel regarding same (0.9);
                     telephone conference with Sheldon Stone regarding same (0.3); multiple
                     strategy conferences with Elizabeth Vandesteeg regarding sale strategy
                     (0.5 - N/C)                                                                             3.10    1,782.50
              EBV    Strategy conferences with Michael Brandess regarding secured creditor
                     APA negotiations (0.5); emails with debtors' counsel regarding stipulation
                     regarding APA objection deadline (0.2); communications and strategy with
                     Amherst regarding financial projections regarding cash flow, administrative
                     expenses, and cure costs (0.2); call with Michael Brandess and secured
                     creditor regarding potential consensual APA resolution and exit strategy
                     (0.3-N/C); call with Michael Brandess and John Lucas regarding same
                     (0.9-N/C).                                                                              0.90      589.50
07/16/2020    MAB    Email correspondence with Todd Schwartz regarding bid procedures (0.2);
                     telephone conference with Elizabeth Vandesteeg regarding reservation of
                     rights (0.3); draft same (3.1); telephone conference with Nathan Gimpel
                     regarding bid procedures (0.3); email correspondence with Craig Hail
                     regarding sale process (0.2); email correspondence with John Lucas
                     regarding Mastodon retention order (0.1).                                              4.20     2,415.00

              EBV    Review FSB reservation of rights to sale motion (0.3); communications with
                     committee regarding status of APA negotiations and potential filing (0.2);
                     review and revise debtors' draft revised bid procedures (0.5); strategy
                     conference with Michael Brandess regarding same (0.3).                                 1.30       851.50

07/17/2020    MAB    Multiple email correspondence and telephone conferences with professional
                     working group regarding sale, reservation of rights, and next steps (0.9);
                     review and revise reservation of rights (0.7); review proposed revisions to
                     bid procedures and email correspondence with debtors' and lenders'
                     professionals regarding same (0.3); telephone conference and email
                     correspondence with Michael Maggio regarding same (0.2).                               2.10     1,207.50
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       Official Committee of Unsecured Creditors                                                                      07/31/2020
                                                                                                       Account No:    10836-012
                                                                                                     Statement No:       262521
       Asset Sales



                                                                                                              Hours
               EBV    Review and revise reservation of rights regarding stalking horse APA (0.7);
                      continue to revise committee-approved APA (0.6); correspondence-with
                      counsel to debtors and secured creditor regarding bid procedures and
                      reservation of rights (0.2).                                                             1.50      982.50
               MSM Consolidate and expand comments to APA and prepare committee draft of
                   same (1.5).                                                                                 1.50     1,027.50
07/19/2020    MAB     Multiple e-maii correspondence with committee professional working group
                      regarding bid procedures hearing (0.4).                                                  0.40      230.00
              EBV     Prepare for hearing on bid procedures motion (0.4)                                       0.40      262.00
07/20/2020    MAB     Telephone conference with committee professionals regarding bid
                      procedures hearing (0.3); revise committee approved APA for inclusion in
                      investment banker data room (0.8).                                                       1.10      632.50
              EBV    Review and analysis of reservations of rights filed by UST and First Savings
                     Bank (0.7); prepare for (1.5) and participate in (0.8) hearing on bid
                     procedures motion; internal strategy conference with committee
                     professionals regarding next steps in light of same (0.5); communications
                     with debtors' counsel regarding APA and releases (0.2); review and finalize
                     clean "Committee-approved APA" for inclusion in data room (0.3); review
                     and revise draft proposed amended bid procedures order and exhibits (1.2).                5.20    3,406.00
07/21/2020    EBV    Telephone conference with Michael Maggio regarding amended bid
                     procedures order (0.1); various email correspondence among estate
                     professionals regarding same (0.2).
                                                                                                              0.30       196.50
              MAB    Telephone conference with Doug DeKock regarding potential interested
                     bidder (0.2); strategy conference with committee professional working group
                     regarding saie (0.4); multiple email correspondence with debtors'
                     professionals regarding same (0.3); attention to inquiry from potential upset
                     bidder group (0.3).                                                                      1.20       690.00
07/24/2020   MAB     Telephone conference with investment banker regarding sale status (0.5).                 0.50       287.50
07/28/2020   EBV     Attention to Mastodon update (0.3)                                                       0.30       196.50
             MAB     E-mail correspondence with Robert Hersch regarding sale process (0.2).                   0.20       115.00
                     For Current Services Rendered                                                           40.10    24,860.50
                     Total Non-billable Hours                                                                 0.30

                                                          Recapitulation
             Timekeeper                                                 Hours           Rate               Total
             Mark S. Melickian                                            5.30       $685.00          $3,630.50
             Elizabeth B. Vandesteeg                                     15.60        655.00          10,218.00
             Michael A. Brandess                                         18.50        575.00          10,637.50
             John R. O'Connor                                             0.70        535.00             374.50


                     Total Current Work                                                                               24,860.50
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                                           SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                     30 N. LaSalle Street
                                                        Suite 3000
                                                     Chicago, IL 60602
                                                       (312)704-9400




                                                                                                                 Page: 1
      Official Committee of Unsecured Creditors                                                               07/31/2020
      Barfly Ventures, LLC, et al.                                                             Account No:    10836-015
      c/o Gordon Food Service, Inc.                                                          Statement No:       262522
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Litigation & Contested Matters


                                                            Fees

                                                                                                     Hours
07/17/2020    EBV     Communications with professional working group regarding potential
                      litigation related to insiders (0.3)                                             0.30
                      For Current Services Rendered                                                    0.30      196.50

                      Total Current Work                                                                         196.50


                      Balance Due                                                                               $196.50




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                     "PAY MY BILL" LINK AT WWW.SFGH.COM
                     AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                     PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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                          Exhibit C
                (August Monthly Fee Statement)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                         Chapter 11
                                         i
    BARFLY VENTURES, LLC, et. al,                        Case No. 20-01947-jwb

             Debtors.                                    (Jointly Administered)




      MONTHLY FEE STATEMENT OF SUGAR FELSENTHAL GRAIS & HELSINGER
     LLP FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
         EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                        CREDITORS FOR AUGUST 2020


    Name of Applicant:                           Sugar Felsenthal Grais & Helsinger LLP

    Authorized to provide services to:           Official Committee of Unsecured Creditors

    Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:     August 2020

    Amount of compensation sought as actual,     $41,950.002
    reasonable, and necessary:                   80% = $33,560.00
                                                 20% = $8,390.00

    Amount of expense reimbursement sought:      $0.00

    Total interim request:                       $33,560.00


1 The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).
2 Pursuant to the Committee's retention of SFGH, SFGH invoices the Committee at a blended

hourly rate of $500.


4958857.V1
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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     phagefgli affelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbradnessfo),sfgh.com
                                     evandesteegfo),sfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC et al

Dated: September 14, 2020
                       Case:20-01947-jwb          Doc #:409 Filed: 12/02/2020            Page 47 of 88
                                         SUGAR FELSENTHAL GRAIS & HELS1NGER LLP
                                                   30 N. LaSalle Street
                                                      Suite 3000
                                                   Chicago, IL 60602
                                                     (312)704-9400




                                                                                                                        Page: 1
      Official Committee of Unsecured Creditors                                                                      08/31/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-001
      do Gordon Food Service, Inc.                                                                  Statement No:        263207
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                              Fees

                                                                                                            Hours

08/11/2020    MAB     Telephone conference with John Lucas regarding case status (0.3); email
                      correspondence with Paul Hage regarding same (0.3).                                     0.60      345.00

08/12/2020    MAB     Telephone conference with James Morden regarding PPP hearing, sale,
                      and case status (0.4).                                                                  0.40      230.00

08/14/2020    MAB     Multiple email correspondence with committee professional working group
                      regarding Mark Sellers bankruptcy (0.5); strategy conference with Paul
                      Hage regarding same (0.3).                                                              0.80      460.00

08/16/2020    EBV     Attention to issues raised by Mark Sellers personal bankruptcy (0.4).                   0.40      262.00

08/17/2020    EBV     Strategy conferences with Michael Brandess and Paul Hage regarding
                      various issues (sale, PPP, Sellers' BK) (0.9).                                          0.90       589.50

              MAB     Multiple e-mail correspondence with John Lucas regarding Mark Seller's
                      bankruptcy filing (0.4); review loan document regarding same (0.3);
                      telephone conference with John Lucas and Paul Hage regarding sale, PPP
                      issue, and case status (0.4); strategy conference with committee
                      professionals regarding case status (0.9).                                              2.00     1,150.00

08/18/2020    MAB     Review debtors' professionals' fee statements (0.7); email correspondence
                      with Paul Hage regarding same (0.2).                                                    0.90       517.50

              EBV     Review draft appearance to be filed in Mark Sellers personal BK case (0.1).             0.10        65.50

08/19/2020    MAB     Telephone conference with John Lucas regarding PPP issue, sale, and
                      case status (0.3); multiple strategy conferences and email correspondence
                      with Elizabeth Vandesteeg and Paul Hage regarding same (0.7); strategy
                      conference with Paul Hage regarding same (0.2).                                         1.20       690.00

              EBV     Strategy conference with Michael Brandess regarding sale and PPP status
                      and strategy (0.5); call with Mastodon and Committee professionals
                      regarding sale update (0.5).                                                            1.00       655.00

08/24/2020    MAB     Draft e-mail memorandum to John Lucas regarding sale motion, PPP issue,
                      and Mark Sellers bankruptcy (0.3).                                                      0.30       172.50
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                                                                                                                     Page: 2
      Official Committee of Unsecured Creditors                                                                   08/31/2020
                                                                                                   Account No:    10836-001
                                                                                                 Statement No:        263207
      General Case Administration


                                                                                                         Hours

08/25/2020    MAB    Prepare for and participate in status hearing (0.8).                                  0.80      460.00

08/27/2020    EBV    Put together strategy and outline for TRO regarding declaratory/adversary
                     regarding SBA and PPP funds (2.1).                                                    2.10     1,375.50

08/28/2020    EBV    Attention to upcoming hearing in Sellers' bankruptcy to determine whether
                     committee appearance necessary (0.3).                                                 0.30      196.50
                     For Current Services Rendered                                                        11.80     7,169.00

                                                         Recapitulation
              Timekeeper                                               Hours            Rate           Total
              Elizabeth B. Vandesteeg                                   4.80         $655.00       $3,144.00
              Michael A. Brandess                                       7.00          575.00        4,025.00




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                                                                                                                       Page: 1
      Official Committee of Unsecured Creditors                                                                     08/31/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-004
      c/o Gordon Food Service, Inc.                                                                Statement No:       263210
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Investigation of Operations & Assets


                                                              Fees

                                                                                                           Hours
08/03/2020    MAB     Telephone conference with John Lucas regarding PPP responsive filings
                      (0.2); strategy conference with Elizabeth Vandesteeg regarding same (0.4);
                      telephone conference with Paul Hage regarding same (0.2); email
                      correspondence with Mark Melickian regarding PPP legislation and
                      committee responsive pleadings (0.3); finalize response to First Savings
                      Bank objections (0.9).                                                                 2.00     1,150.00

              EBV     Review debtors objection to First Savings Bank (0.3); strategy conference
                      with Michael Brandess regarding same (0.4).                                            0.70       458.50

              MSM Analyze and summarize proposed PPP legislation and potential impact on
                  case for Committee counsel team (2.1).                                                     2.10     1,438.50

08/04/2020    EBV     Strategy conference with Michael Brandess regarding upcoming hearing
                      (0.3).                                                                                 0.30       196.50

              MAB     Review East Beltiine letter regarding liquor license (0.3); email
                      correspondence with committee professionals regarding same (0.2);
                      research UCC filings regarding liquor license (0.3); email correspondence
                      with Paul Hage regarding same (0.1); Strategy conference with Elizabeth
                      Vandesteeg regarding PPP hearing (0.3)                                                 0.90       517.50

              MSM Telephone calls with Michael Brandess regarding Barfly arguments (0.2).                    0.20       137.00

08/05/2020    MAB     Draft outline for PPP hearing (1.1); strategy conference with professional
                      working group regarding same (0.8).                                                    1.90     1,092.50

              EBV     Strategy conference with Michael Brandess regarding PPP argument (0.4);
                      PPP hearing outline and preparation (2.2); strategy conference with
                      committee professionals and debtors' counsel regarding PPP hearing prep
                      (0.8); review First Savings Bank response (0.6).                                       4.00     2,620.00

08/06/2020    MAB     Prepare for and participate in hearing on PPP funds (1.8); email
                      correspondence with committee regarding same (0.3); telephone
                      conference with professional working group regarding same (0.3).                       2.40     1,380.00

              EBV     Continue to prepare for hearing on use of PPP funds (2.3); attend and
                      argue at hearing on PPP funds usage (1.8); various communications with
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                                                                                                                    Page: 2
      Official Committee of Unsecured Creditors                                                                  08/31/2020
                                                                                                  Account No:    10836-004
                                                                                                Statement No:        263210
      Investigation of Operations & Assets


                                                                                                        Hours
                     committee/debtors' professionals regarding PPP, Mastodon, and other
                     issues (0.4).                                                                        4.50     2,947.50

              JTW    Review of FSB Supplemental Response (0.3); Strategy conference with
                     Elizabeth Vandesteeg regarding same, primarily with respect to arguments
                     on usage of PPP loan monies (0.6).                                                   0.90      522.00

08/07/2020    MAB    Participate in court hearing on PPP funds (0.8); post-hearing strategy
                     conference with committee professionals regarding same (0.3);
                     post-hearing strategy conference with John Lucas and Paul Hage and
                     Elizabeth Vandesteeg regarding same (0.6).                                           1.70      977.50

              EBV    Continued hearing on use of PPP funds (0.7); strategy conference with
                     Michael Brandess and Paul Hage regarding next steps and committee
                     position in light of opinion (0.6).                                                  1.30      851.50

08/10/2020    MAB    Telephone conference and e-mail correspondence with Jason Torf
                     regarding ongoing food service (0.4).                                                0.40      230.00

08/17/2020    MAB    Review Mark Sellers' note to company (0.3); strategy conference with
                     Committee professionals regarding same (0.3).                                        0.60      345.00
                     For Current Services Rendered                                                       23.90    14,864.00

                                                        Recapitulation
              Timekeeper                                              Hours             Rate          Total
              Mark S. Melickian                                        2.30          $685.00      $1,575.50
              Elizabeth B. Vandesteeg                                 10.80           655.00       7,074.00
              Jeremy T. Waitzman                                        0.90          580.00         522.00
              Michael A. Brandess                                       9.90          575.00       5,692.50




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                                                                                                                       Page: 1
      Official Committee of Unsecured Creditors                                                                     08/31/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-005
      c/o Gordon Food Service, Inc.                                                                Statement No:       263211
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                                Fees

                                                                                                           Hours
08/04/2020    MAB     Draft July monthly fee statement (1.2).                                               1.20       690.00

08/05/2020    MAB     Review U.S. Trustee objection to committee professional retainers (0.4);
                      draft outline regarding same (0.8).                                                    1.20      690.00

              EBV    Review UST objection to SFGH retainers (0.2).                                           0.20      131.00

08/10/2020    MAB    Draft July monthly invoice (0.9); multiple e-mail correspondence with Paul
                     Hage regarding same (0.3).                                                              1.20      690.00

              NB      Review and compile order overruling First Savings Bank's objections to fee
                      statements of debtors' professionals; review and compile order authorizing
                      employment of Sugar Felsenthal Grais & Helsinger, LLP (0.2).                           0.20        50.00

08/11/2020    NB     Review and compile court docket entries related to limited objections to
                     appointment of professionals (0.1).                                                     0.10        25.00

08/14/2020    NB     Review and compile interim fee application for Sugar Felsenthal (0.1).                  0.10       25.00
                     For Current Services Rendered                                                           4.20     2,301.00

                                                         Recapitulation
              Timekeeper                                               Hours             Rate             Total
              Elizabeth B. Vandesteeg                                   0.20          $655.00          $131.00
              Michael A. Brandess                                       3.60           575.00         2,070.00
              Nancy Bailey                                              0.40           250.00           100.00
                      Case:20-01947-jwb           Doc #:409 Filed: 12/02/2020          Page 52 of 88
                                         SUGAR FELSENTHAL GRAIS & HELSINGER LLP
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                                                   Chicago, IL 60602
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                                                                                                                        Page: 1
      Official Committee of Unsecured Creditors                                                                      08/31/2020
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-006
      c/o Gordon Food Service, Inc.                                                                 Statement No:       263212
      Attn; Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Application - other professionals


                                                             Fees

                                                                                                            Hours
08/04/2020    MAB     Telephone conference with Paul Hage regarding monthly fee statements
                      (0.2).                                                                                  0.20      115.00

08/05/2020    MAB     Review and revise Mastodon retention order (0.4); email correspondence
                      with John Lucas regarding same (0.2).                                                   0.60       345.00

08/10/2020    NB      Review and compile order overruling First Savings Bank's objections to fee
                      statements of debtors' professionals; review and compile orders authorizing
                      employment of Amherst Partners, LLC, and Jaffe Raitt Heuer & Weiss, P.C.
                      (0.2).                                                                                  0.20        50.00
                      For Current Services Rendered                                                           1.00       510.00

                                                        Recapitulation
              Timekeeper                                              Hours              Rate             Total
              Michael A. Brandess                                       0.80          $575.00           $460.00
              Nancy Bailey                                              0.20           250.00             50.00




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                                                   Chicago, IL 60602
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                                                                                                              Page: 1
      Official Committee of Unsecured Creditors                                                            08/31/2020
      Barfly Ventures, LLC, et al.                                                          Account No:    10836-009
      c/o Gordon Food Service, Inc.                                                       Statement No:        263214
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Budget & Financial Issues


                                                           Fees

                                                                                                  Hours
08/03/2020    MAB    Email correspondence with Sheldon Stone and James Morden regarding
                     cash flow projections (0.2).                                                   0.20      115.00
                      For Current Services Rendered                                                 0.20      115.00

                                                       Recapitulation
              Timekeeper                                             Hours         Rate         Total
              Michael A. Brandess                                    0.20       $575.00       $115.00




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                      AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
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                      Case:20-01947-jwb           Doc #:409 Filed: 12/02/2020             Page 54 of 88
                                          SUGAR FELSENTHAL GRAIS & HELSINGER LLP
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                                                                                                                       Page: 1
      Official Committee of Unsecured Creditors                                                                     08/31/2020
      Barfly Ventures, LLC, et al.                                                                   Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                                Statement No:        263215
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                               Fees

                                                                                                           Hours
08/03/2020    MAB     Telephone conference with Craig Hall regarding case status (0.3); email
                      correspondence with committee regarding committee's and debtors'
                      responses to First Savings Bank's filings (0.2).                                       0.50      287.50

08/04/2020    MAB     Draft agenda for committee meeting (0.2); participate in same (0.5).                   0.50      287.50

08/05/2020    MAB     Email correspondence with committee regarding PPP issue, Mastodon
                      retention, and sale status (0.4).                                                      0.40      230.00

08/06/2020    MAB     Draft email memorandum to committee summarizing PPP hearing (0.4);
                      telephone conference with Craig Hall regarding same (0.2); email
                      correspondence and telephone conference with Doug DeKock regarding
                      claim (0.4).                                                                           1.00      575.00

08/07/2020    MAB     Email correspondence with committee regarding PPP hearing (0.3);
                      telephone conference with Jason Torf regarding same (0.3).                             0.60      345.00

08/11/2020    MAB     Draft agenda for committee call (0.4); participate in same (0.5).                      0.90      517.50

08/13/2020    MAB     Draft email memorandum to committee regarding claims bar date (0.4).                   0.40      230.00

08/18/2020    EBV     Communications with Committee professionals regarding upcoming
                      Committee call (0.3); Participate in standing weekly committee call (0.6).             0.90      589.50

              MAB     Draft agenda for committee call (0.3); participate in same (0.6); multiple
                      email correspondence with Jason Torf regarding post-call follow up (0.3).              0.90       517.50

08/25/2020    MAB     Email correspondence with committee regarding case update (0.3).                       0.30      172.50

              EBV     Communications with committee regarding status of sale efforts and
                      continuations in lieu of weekly call (0.2).                                            0.20      131.00

08/26/2020    MAB     Draft e-mail memorandum to committee regarding case status and lease
                      rejection motion (0.4).                                                                0.40      230.00
                      For Current Services Rendered                                                          7.00     4,113.00
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                                                                                                       Page; 2
Official Committee of Unsecured Creditors                                                           08/31/2020
                                                                                      Account No:   10836-011
                                                                                    Statement No:       263215
Committee Meetings & Governance


                                                 Recapitulation
        Timekeeper                                             Hours         Rate         Total
        Elizabeth B. Vandesteeg                                1.10       $655.00       $720.50
        Michael A. Brandess                                    5.90        575.00      3,392.50




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               PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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                                         SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                   30 N. LaSalle Street
                                                      Suite 3000
                                                   Chicago, IL 60602
                                                     (312)704-9400




                                                                                                                     Page: 1
      Official Committee of Unsecured Creditors                                                                   08/31/2020
      Barfly Ventures, LLC, et al.                                                                 Account No:    10836-012
      do Gordon Food Service, Inc.                                                               Statement No:        263216
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Asset Sales


                                                            Fees

                                                                                                         Hours
08/04/2020    MAB     Email correspondence with John Lucas and Robert Hersch regarding
                      stalking horse adequate assurance package (0.2); email correspondence
                      with Nathan Gimpel regarding same (0.2).                                             0.40      230.00

08/05/2020    MAB     Telephone conference with Nathan Gimpel regarding adequate assurance
                      information (0.3); email correspondence with committees professionals
                      regarding same (0.2).                                                                0.50      287.50

              MAB     Telephone conference with Nathan Gimpel regarding adequate assurance
                      package (0.4); email memorandum to committee professionals regarding
                      same (0.3).                                                                          0.70       402.50

08/06/2020    MAB     Email correspondence with Robert Hersch regarding sale updates (0.1).                0.10        57.50

08/10/2020    MAB     Email correspondence with Paul Hage regarding adequate assurance
                      request list (0.2); email correspondence with Nathan Gimpel regarding
                      same (0.3).                                                                          0.50       287.50

08/14/2020    MAB     Telephone conference with Robert Hersch regarding sale update (0.5).                 0.50       287.50

08/18/2020    EBV     Review and analysis regarding Robert Hersch sale status update (0.6).                0.60       393.00

              MAB     Review analysis prepared by Robert Hersch (0.5); email correspondence
                      with Committee professionals regarding same (0.2); email correspondence
                      with Robert Hersch regarding same (0.1).                                             0.80       460.00

08/19/2020    MAB     Telephone conference with Robert Hersch regarding sale status (0.5).                 0.50       287.50

08/21/2020    EBV     Strategy conference with Michael Brandess regarding sale update status
                      (0.4).                                                                               0.40       262.00

              MAB     Review adequate assurance package (0.2); email correspondence with
                      Nathan Gimpel regarding same (0.2); strategy conference with Committee
                      professionals regarding same (0.4); telephone call and multiple email
                      correspondence with Jason Torf regarding sale status (0.7); telephone
                      conference with Robert Hersch regarding sale status (0.6); telephone
                      conference with Sheldon Stone regarding same (0.4); telephone conference
                      with Elizabeth Vandesteeg regarding same (0.3); email memorandum to
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                                                                                                                          Page: 2
      Official Committee of Unsecured Creditors                                                                        08/31/2020
                                                                                                        Account No:    10836-012
                                                                                                      Statement No:        263216
      Asset Sales


                                                                                                              Hours
                     committee regarding same (0.6).                                                           3.40      1,955.00

08/24/2020    MAB    Multiple telephone conferences with Michael Maggio regarding sale hearing
                     (0.3); telephone conference with Elizabeth Vandesteeg and John Lucas
                     regarding same (0.2); telephone conference with Paul Hage regarding same
                     (0.2); multiple telephone conferences with Jason Torf regarding same (0.3);
                     review stipulation extending sale hearing and objection deadline (0.3).                    1.30      747.50

              EBV    Review Stalking Horse adequate assurance letter (0.3); review update to
                     committee regarding overall sale status and adequate assurance issues
                     (0.2); strategy conference with John Lucas regarding committee exception
                     to pending sale objection deadline (0.3); review and revise stipulation
                     regarding hearing continuance to incorporate same (0.3); strategy
                     conference with Michael Brandess regarding same (0.2)                                      1.30      851.50

08/25/2020    MAB    Review First Savings Bank's response to sale motion (0.3).                                 0.30      172.50

08/28/2020    EBV    Attention to status of sale process (0.2); participate in Mastodon update call
                     regarding same (0.5).                                                                      0.70      458.50

08/31/2020    MAB    Strategy conference with Sheldon Stone regarding sale process (0.3);
                     multiple e-mail correspondence with Robert Hersch regarding same (0.2);
                     review updated sale information (0.3).                                                     0.80      460.00
                     For Current Services Rendered                                                             12.80     7,600.00

                                                         Recapitulation
              Timekeeper                                               Hours              Rate              Total
              Elizabeth B. Vandesteeg                                   3.00           $655.00          $1,965.00
              Michael A. Brandess                                       9.80            575.00           5,635.00




                     MAB/MSM/EBV/JPF/JRO

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                                         SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                   30 N. LaSalle Street
                                                      Suite 3000
                                                   Chicago, IL 60602
                                                     (312)704-9400




                                                                                                                         Page: 1
      Official Committee of Unsecured Creditors                                                                       08/31/2020
      Barfly Ventures, LLC, et al.                                                                     Account No:    10836-015
      c/o Gordon Food Service, Inc.                                                                  Statement No:       263217
      Attn; Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Litigation & Contested Matters




                                                              Fees

                                                                                                              Hours
08/27/2020    MAB     Draft temporary restraining order motion (4.2); e-mail correspondence with
                      John Lucas regarding same (0.2); strategy conference with Committee
                      professionals regarding same (0.3).                                                      4.70

08/28/2020    MAB     Draft temporary restraining order motion (5.9).                                          5.90

08/29/2020    MAB     Draft temporary restraining order motion (3.8).                                          3.80

08/30/2020    MAB     Draft temporary restraining order motion (2.9).                                          2.90

08/31/2020    EBV     Review and revise TRO regarding PPP use (3.1); call with Michael
                      Brandess and P. Hage regarding same (0.7).                                               3.80

              MAB     Strategy conference with Committee professionals regarding temporary
                      restraining motion and related go-forward approach (0.6); revise same (1.3).             1.90
                      For Current Services Rendered                                                           23.00    13,529.00




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                          Exhibit D
              (September Monthly Fee Statement)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                             Chapter 11
    BARFLY VENTURES, LLC, et. al, i                          Case No. 20-01947-jwb

             Debtors.                                        (Jointly Administered)



      MONTHLY FEE STATEMENT OF SUGAR FELSENTHAL GRAIS & HELSINGER
     LLP FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
         EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                       CREDITORS FOR SEPTEMBER 2020


    Name of Applicant:                               Sugar Felsenthal Grais & Helsinger LLP

    Authorized to provide services to:               Official Committee of Unsecured Creditors

    Effective Date of Retention:                     August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:         September 2020

    Amount of compensation sought as actual,         $73,350.002
    reasonable, and necessary:                       80% = $58,680.00
                                                     20% = $14,670.00

    Amount of expense reimbursement sought:          $0.00

    Total interim request:                           $58,680.00


1 The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255)1
2 Pursuant to the Committee's retention of SFGH, SFGH invoices the Committee at a blended

hourly rate of $500.


4989188.vl
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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248) 351-3000
                                     phage(@i affelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbradness sfgh, com
                                     evandesteeg@sfgh.com

                                     Counsel for the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC et al.

Dated: October 7, 2020
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                                    SUGARDoc #:409 Filed:
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                                                          Chicago, IL 60602
                                                            (312)704-9400




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      Official Committee of Unsecured Creditors                                                                           09/30/2020
      Barfly Ventures, LLC, et al.                                                                         Account No:    10836-001
      c/o Gordon Food Service, Inc.                                                                      Statement No:        264251
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                                Fees

                                                                                                                 Hours

09/02/2020    MAB     Strategy conference with John Lucas regarding PPP sand sale status (0.4);
                      strategy conference with committee professionals regarding same (0.5); draft
                      e-mail memorandum to Sheldon Stone and James Morden regarding financial
                      projections (0.3); strategy conferenece with committee professional working
                      group regarding recovery strategy (0.5)                                                      1.70       977.5C

09/03/2020    MAB     Review derivative standing issue regarding Mark Sellers' bankruptcy (0.3).                   0.30       172.5C

09/09/2020    MAB     Strategy conference with committee professionals regarding sale, PPP issue,
                      and other pressing issues (0.5).                                                             0.90       517.5C

09/10/2020    MAB     Review draft stipulation granting derivative standing to committee to file claim
                      in Mark Sellers' bankruptcy (0.3); email correspondence with Paul Hage
                      regarding same (0.2).                                                                        0.20       115.0C

              EBV     Review stipulation for derivative standing regarding Sellers claim (0.2).                    0.20       131.0C

09/11/2020    MSM Telephone call with Michael Brandess regarding Sellers' claim (0.2).                             0.20       137.0(

              MAB     Telephone conference with Mark Melickian regarding derivative standing to file
                      Sellers' claim (0.2 - N/C)                                                                   0.20         N/C

09/15/2020    EBV     Strategy conference with Michael A. Brandess regarding potential next steps
                      and strategy following committee call (0.4).                                                 0.40       262.0(

              MAB     Participate in status conference (0.3); strategy conference with Elizabeth
                      Vandesteeg regarding potential distribution strategy (0.4 - N/C); telephone
                      conference with John Lucas regarding case status (0.5); email
                      correspondence with James Morden regarding claims bar date (0.2).                            1.00       575.0(

09/16/2020    MAB     Prepare for (0.8) and participate in (0.5) Mark Sellers' 341 meeting; email
                      correspondence with Committee professionals regarding same (0.2);
                      telephone conference with Paul Hage regarding same (0.3).                                    1.00       575.0(

09/17/2020    MAB     Draft strategy memorandum to committee professionals regarding next steps
                      (0.3).                                                                                       0.30       172.5(

09/18/2020    EBV     Telephone conference with debtors' professionals regarding case status (0.6)                 0.60       393.0(
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      Official Committee of Unsecured Creditors                                                                       09/30/2020
                                                                                                       Account No:    10836-001
                                                                                                     Statement No:        264251
      General Case Administration


                                                                                                             Hours

09/21/2020    MSM Telephone call with Michael Brandess regarding case issues and strategy
                  (0.5).                                                                                       0.50      342.50

              MAB    Strategy conference with Mark Melickian regarding case status (0.5)                       0.50      287.50

09/22/2020    MSM Research, prepare calculations, and prepare initial draft of Barfly estate proof
                  of claim addendum in Mark A. Sellers case (2.2).                                             2.20     1,507.00

09/24/2020    EBV    Review and revise UCC proof of claim in Mark Sellers' bankruptcy (0.3).                   0.30       196.50

09/27/2020    MAB    Finalize and file claim in Mark Sellers' bankruptcy case (0.6).                           0.60       345.0C

09/29/2020    EBV    Review Mark Sellers' Chapter 5 Trustee report (0.4)                                       0.40       262.0C
                     For Current Services Rendered                                                            11.30     6,968.5C
                     Total Non-billable Hours                                                                  0.20

                                                          Recapitulation
               Timekeeper                                               Hours             Rate            Total
               Mark S. Melickian                                         2.90          $685.00        $1,986.50
               Elizabeth B. Vandesteeg                                   1.90           655.00         1,244.50
               Michael A. Brandess                                       6.50           575.00         3,737.50


                     Total Current Work                                                                                 6,968.5C




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                                                         30 N. LaSalle Street
                                                            Suite 3000
                                                         Chicago, iL 60602
                                                           (312)704-9400




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      Official Committee of Unsecured Creditors                                                                           09/30/202C
      Barfly Ventures, LLC, et al.                                                                         Account No:    10836-00^
      c/o Gordon Food Service, Inc.                                                                      Statement No:        26425::
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Investigation of Operations & Assets


                                                               Fees

                                                                                                                 Hours
09/01/2020    MAB    Draft PPP temporary restraining order motion (3.2); telephone conference with
                     John Lucas regarding same (0.3).                                                              3.50     2,012.5(

              JTW    Phone call with Elizabeth Vandesteeg regarding PPP Loan use for rent
                     payments (0.3)                                                                                0.30       174.0(

09/02/2020    EBV    Call with Debtors' counsel regarding adversary and TRO with respect to PPP
                     usage and status of actual PPP funds expected to be remaining at/post-sale
                     closing (0.4); strategy conference with Paul Hage regarding strategy as to
                     potential paths for recovery to general unsecured creditors in light of cash burn
                     and reserve (0.5).                                                                            0.90       589.5(
                     For Current Services Rendered                                                                 4.70     2,776.0(

                                                          Recapitulation
                Timekeeper                                              Hours              Rate               Total
                Elizabeth B. Vandesteeg                                  0.90           $655.00             $589.50
                Jeremy T. Waitzman                                       0.30            580.00              174.00
                Michael A. Brandess                                      3.50            575.00            2,012.50


                      Total Current Work                                                                                    2,776.0(
                        Case:20-01947-jwb
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      Official Committee of Unsecured Creditors                                                           09/30/2020
      Barfly Ventures, LLC, et al.                                                         Account No:    10836-005
      c/o Gordon Food Service, Inc.                                                      Statement No:        264254
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                             Fees

                                                                                                 Hours
09/04/2020    MAB     Prepare August monthly fee statement (0.9).                                 0.90        517.50
                      For Current Services Rendered                                                0.90       517.50

                                                         Recapitulation
                Timekeeper                                             Hours      Rate        Total
                Michael A. Brandess                                     0.90   $575.00      $517.50


                      Total Current Work                                                                      517.50




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      Official Committee of Unsecured Creditors                                                                        09/30/2020
      Barfly Ventures, LLC, et al.                                                                      Account No:    10836-009
      c/o Gordon Food Service, Inc.                                                                   Statement No:        264257
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Budget & Financial Issues


                                                               Fees

                                                                                                              Hours
09/14/2020    MAB     Email correspondence with John Lucas and Paul Neitzel regarding strategy
                      conference (0.2).                                                                         0.20      115.0C

09/15/2020    EBV     Various emails between committee professionals regarding status of
                      communications with Rock Creek regarding budget assumptions (0.3).                        0.30       196.5C

              MAB     Email correspondence with Paul Neitzel regarding financial forecasts (0.2);
                      Email correspondence with Nathan Gimpel regarding financing documents
                      (0.3); email correspondence with Etahn Cohen regarding same (0.2); email
                      correspondence with Sheldon Stone regarding same (0.2).                                   0.90       517.5C

09/16/2020    EMC     Telephone conference with committee professionals regarding new loan
                      agreement (0.8); review and revise proposed loan agreement (1.6).                         2.40     1,560.0c

              EBV     Attention to draft stalking horse post-closing financing documents (0.6).                 0.60       393.0C

09/17/2020    EMC     Review and revise loan agreements to make the agreement more acceptable
                      for unsecured creditors (1.6); further revisions to agreements based on
                      conversation and email agreements to review (0.7).                                        2.30     1,495.0C

09/18/2020    MAB     Telephone conference with Paul Neitzel regarding financial projections (0.4);
                      telephone conference with Sheldon Stone regarding same (0.3); strategy
                      conference with Elizabeth Vandesteeg and Paul Hage regarding same (0.3)                   1.00       575.0C

              EBV     Settlement and budget discussions with Michael Brandess and Paul Hage
                      (0.3).                                                                                    0.30       196.5C

09/19/2020    MSM Review and comment on draft post-petition financing agreement (0.8).                          0.80       548.0C
                      For Current Services Rendered                                                             8.80     5,596.5C

                                                           Recapitulation
                Timekeeper                                               Hours              Rate           Total
                Mark S. Melickian                                          0.80          $685.00         $548.00
                Elizabeth B. Vandesteeg                                    1.20           655.00          786.00
                Etahn M. Cohen                                             4.70           650.00        3,055.00
                Michael A. Brandess                                        2.10           575.00        1,207.50
                       Case:20-01947-jwb
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      Official Committee of Unsecured Creditors                                                                       09/30/2020
      Barfly Ventures, LLC, et al.                                                                     Account No:    10836-011
      c/o Gordon Food Service, Inc.                                                                  Statement No:        264258
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                                   Fees

                                                                                                              Hours
09/01/2020    MAB     Draft agenda for committee call (0.3); participate in same (0.6).                        0.90      517.5C

              EBV     Committee call regarding case updates (0.6 - N/C).                                       0.60         N/C

09/03/2020    MAB     Telephone conference with Doug DeKock regarding sale status (0.3).                       0.30      172.5C

09/08/2020    EBV     Weekly committee call (0.6 - N/C).                                                       0.60         N/C

              MAB     Participate in weekly committee call (0.6)                                               0.60      345.0C

09/09/2020    MAB     Multiple email correspondence with committee regarding special meeting (0.3)             0.30      172.5C

09/10/2020    MAB     Telephone conference with committee regarding sale options (1.2 - N/C).                  1.20         N/C

              EBV     Prepare for (0.3) and participate in (1.2) committee call regarding sale
                      objection strategy.                                                                      1.50       982.5C

09/11/2020    MAB     Draft email memorandum to committee regarding sale update (0.5); email
                      correspondence with individual committee members regarding same (0.3).                   0.80       460.0C

09/15/2020    EBV     Review agenda for upcoming weekly committee call (0.1) weekly committee
                      call (0.6).                                                                              0.70       458.5(

              MAB     Draft agenda for committee meeting (0.3); participate in same (0.6 - N/C).               0.30         N/C

09/16/2020    MAB     Email correspondence with committee regarding special meeting (0.2).                     0.20       115.0(

09/18/2020    MAB     Telephone conference with committee regarding sale, potential litigation
                      claims, and go-forward strategy (0.7 - N/C).                                             0.70         N/C

              EBV     Committee call regarding negotiations with stalking horse and concessions
                      regarding financing agreement and sellers' claim (0.7).                                  0.70       458.5(

09/22/2020    EBV     Communications with committee regarding sale objection discussions (0.3).                0.30       196.5(

09/23/2020    EBV     Prepare (0.2) for and participate in (0.7) committee call regarding sale
                      objection.                                                                               0.90       589.5(

              MAB     Telephone conference with committee regarding sale objection and
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      Official Committee of Unsecured Creditors                                                                    09/30/202C
                                                                                                    Account No:    10836-011
                                                                                                  Statement No:        264252
      Committee Meetings & Governance


                                                                                                          Hours
                     go-forward strategy (0.3); e-mail correspondence and telephone conference
                     with Jason Torf and John Cannizzaro regarding same (0.4).                              0.70      402.5C

09/24/2020    MAB    Multiple email updates to committee regarding case update (0.7).                       0.70      402.5C

09/27/2020    MAB    Email correspondence and telephone conference with committee regarding
                     sale status (0.4).                                                                     0.40      230.0C

09/29/2020    MAB    Participate in committee conference call (0.7).                                        0.70      402.5C

              EBV    Weekly committee call (0.7 - N/C).                                                     0.70         N/C
                     For Current Services Rendered                                                          9.70     5,905.5C
                     Total Non-billable Hours                                                               4.10

                                                          Recapitulation
               Timekeeper                                               Hours              Rate        Total
               Elizabeth B. Vandesteeg                                   4.10           $655.00    $2,685.50
               Michael A. Brandess                                       5.60            575.00     3,220.00


                     Total Current Work                                                                              5,905.5C




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                     AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                     PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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                                    SUGARDoc #:409 Filed:
                                         FELSENTHAL GRAIS 12/02/2020
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                                                          30 N. LaSalle Street
                                                             Suite 3000
                                                          Chicago, IL 60602
                                                            (312)704-9400




                                                                                                                           Page: 1
      Official Committee of Unsecured Creditors                                                                         09/30/2020
      Barfly Ventures, LLC, et al.                                                                       Account No:    10836-012
      c/o Gordon Food Service, Inc.                                                                    Statement No:        264259
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Asset Sales


                                                                Fees

                                                                                                               Hours
09/01/2020    MAB    Telephone conference with Robert Hersch regarding sale status (0.5); review
                     bid comparison chart and distribution summary (0.6); strategy conference with
                     committee professionals regarding same (0.2 - N/C).                                         1.10      632.5C

09/08/2020    EBV    Email correspondence (0.2) and telephone call with (0.4) John Lucas and
                     committee professionals regarding sale and status update; strategy
                     conference with Paul Hage regarding next steps in light of confirmation that
                     secured lender proceeding with credit bid (0.2).                                            0.80      524.0C

09/09/2020    MAB    Draft objection to sale motion (4.3); telephone conference with lenders'
                     counsel regarding same (0.3); multiple strategy conferences with committee
                     professionals regarding same (0.4 - N/C); telephone conference with Jason
                     Torf regarding same (0.2); telephone conference with Sheldon Stone
                     regarding same (0.2); email correspondence with Robert Hersch regarding
                     same (0.2).                                                                                 5.20     2,990.0C

              EBV     Strategy conference with Michael Brandess and P. Hage regarding committee
                      sale objection outline plan issues (0.6); email correspondence with John Lucas
                      regarding same (0.2); call with Michael Brandess regarding potential next
                      steps and strategy in light of call with counsel for secured lender (0.4).                 1.20       786.0C

09/10/2020    MAB     Draft objection to sale motion (4.9); multiple strategy conferences and email
                      correspondence with committee professionals regarding same (0.8); multiple
                      telephone conferences with Nathan Gimpel regarding same (0.3); telephone
                      conference with John Lucas regarding same (0.2); telephone conference with
                      John Lucas, Paul Hage, and Robert Hersch regarding same (0.4).                             6.60     3,795.0(

              EBV     Various communications with committee professionals regarding same and
                      regarding outline of objection and regarding update from Robert Hersch (1.0);
                      various communications between committee professionals regarding strategy
                      as a result of ongoing negotiations with secured lender (0.3 - N/C).                       1.00       655.0(

09/11/2020    MAB     Email correspondence with John Lucas regarding extension to objection
                      deadline (0.1).                                                                            0.10        57.5C

              EBV     Analysis regarding impact of further continuation of sale hearing (0.3).                   0.30       196.5C

09/14/2020    MAB     Telephone conference with Nathan Gimpel regarding sale and financing
                      related concerns (0.3); email correspondence with Sheldon Stone regarding
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      Official Committee of Unsecured Creditors                                                                        09/30/202C
                                                                                                        Account No:    10836-012
                                                                                                      Statement No:        26425$:
      Asset Sales


                                                                                                              Hours
                     same (0.2).                                                                               0.50        287.5C

              EBV    Various communications with multiple parties regarding upcoming/continued
                     status hearing on sale (0.3 - N/C).                                                        0.30          N/C

09/16/2020    MAB    Multiple strategy conferences with committee professionals regarding
                     proposed financing arrangement (0.8); email correspondence with Michael
                     Maggio regarding potential objection to sale (0.3).                                        1.10       632.5C

09/18/2020    MAB    Strategy conference with committee professional working group regarding
                     remaining sale issues (0.3); email correspondence with Nathan Gimpel
                     regarding same (0.2).                                                                      0.50       287.5C

09/20/2020    MAB    Draft objection to sale motion (3.9).                                                      3.90     2,242.5C

09/21/2020    EBV    Strategy conference with Michael Brandess regarding draft objection to
                     sale/APA (0.2); review and analysis of case law rejecting debtor's business
                     judgement in connection with proposed 363 sale (1.1); attention to and
                     analysis regarding responses from secured creditor regarding UCC demands
                     in lieu of objection to sale (0.9).                                                        2.20     1,441.0C

              MAB    Draft objection to sale motion (5.8); telephone conference with Nathan Gimpel
                     regarding same (0.2); strategy conference with committee professional
                     working group regarding same (0.6 - N/C).                                                  6.00     3,450.0C

09/22/2020    EBV    Sale objection discussions with Paul Hage and Michael Brandess (0.7); review
                     revised draft sale objection (0.6).                                                        1.30       851.5C

              MAB    Draft objection to sale motion (7.1).                                                      7.10     4,082.5C

09/23/2020    EBV    Review and revise committee objection to stalking horse sale motion (3.3)
                     various multiple calls and emails with Michael Brandess and Paul Hage
                     regarding same (1.6); review UST objection to sale motion (0.5).                           5.40     3,537.0c

              MAB    Review revisions to draft sale objection (0.3); strategy conference with
                     committee professionals regarding same (1.6 - N/C); research case law
                     relevant to same (1.4); revise objection (3.2).                                            4.90     2,817.5C

09/24/2020    EBV    Prepare for upcoming contested sale hearing (3.7); call with debtors' counsel
                     re same (0.3).                                                                             4.00     2,620.0C

              MAB    Email correspondence and telephone conference with John Lucas regarding
                     objection (0.4); strategy conference with committee professionals regarding
                     same (0.3); prepare for sale hearing including preparation of argument outline
                     (1.6); telephone conference with Jason Torf regarding sale (0.4); review and
                     summarize response to committee objection (0.8).                                           3.50     2,012.5(

09/25/2020    EBV    Prepare for contested sale hearing (3.2); attend and argue at sale hearing and
                     continued sale hearing (3.1); attend mediation on sale objections (6.4);
                     strategy conference with Paul Hage regarding next steps for analysis
                     regarding potential settlement in light of mediation discussions (0.3).                   13.00     8,515.0(

              MAB    Prepare for sale hearing with committee professionals (0.8); multiple strategy
                     conferences with committee professionals regarding mediation (2.4);
                     Participate in sale hearing (3.2 - N/C).                                                   3.20     1,840.0C
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      Official Committee of Unsecured Creditors                                                                        09/30/2020
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      Asset Sales


                                                                                                              Hours

D9/26/2020    EBV    Multiple various communications between committee professionals regarding
                     potential for settlement with lenders regarding terms of proposed sale (2.2).              2.20     1,441.00

              MAB    Telephone conference with John Lucas regarding sale status (0.3); multiple
                     strategy conferences with committee professionals regarding same (1.3 -
                     N/C).                                                                                      0.30      172.50

39/27/2020    MAB    Multiple strategy conferences with committee professionals regarding sale and
                     potential settlement (1.2); email correspondence with Judge Gregg regarding
                     same (0.2).                                                         •                      1.40      805.00

              EBV    Ongoing strategy communications with Committee professionals regarding
                     budget issues and sale negotiations (1.4).                                                 1.40      917.00

              MAB    Multiple telephone conferences with committee professionals regarding sale
                     objection and go-forward approach (0.6); revise term sheet (0.3); multiple
                     telephone conferences with James Morden regarding winddown budget (0.7);
                     review draft budget regarding same (0.4); telephone conference with Judge
                     Gregg and committee professionals regarding potential settlement of sale
                     objection (0.4); telephone conference with John Lucas regarding same (0.3).                2.70     1,552.50

39/28/2020    EBV    Continued mediation by telephone with Judge Gregg and committee counsel
                     (0.5); ongoing communications with committee professionals regarding sale
                     objection negotiations (0.7); review scheduling order for upcoming evidentiary
                     sale hearing (0.2); review revised term sheet for settlement proposal (0.2).               1.60     1,048.00

39/29/2020    MAB    Strategy conference with committee professionals regarding sale objection
                     (0.5); telephone conference with debtors' professionals regarding same (0.4);
                     email correspondence with Judge Gregg regarding same (0.4); draft sale
                     hearing witness list (0.4); Multiple telephone conferences with James Morden
                     regarding winddown budget (0.8 - N/C).                                                     1.70       977.50

              EBV    Detailed review and analysis of proposed amended sale order (1.6); amended
                     winddown budget review and analysis (0.2); strategy conference with Paul
                     Hage regarding budget and revised settlement proposal term sheet (0.5);
                     conference call with Committee and Debtors' professionals to discuss revised,
                     agreed winddown budget (1.2); follow up call with Paul Hage regarding same
                     (0.4); multiple ongoing emails with various case professionals and Judge
                     Gregg regarding continued sale objection settlement negotiations (0.4); review
                     draft witness list for continued sale hearing (0.2).                                       4.50     2,947.5c

09/30/2020    MAB    Email correspondence with committee professionals regarding witness list and
                     discovery (0.2); email correspondence with James Morden regarding
                     winddown budget (0.1); revise sale order (3.1); multiple strategy conferences
                     with committee professionals regarding same (0.5); multiple telephone
                     conferences with Jason Torf regarding same (0.7); telephone conference and
                     email correspondence with Judge Gregg regarding same (0.3); strategy
                     conference with committee professionals regarding discovery (0.5).                         5.50     3,162.5C

              EBV    Attention to witness list and other discovery-related gating questions for
                     upcoming continued sale hearing (0.9); multiple telephone calls with Michael
                     Brandess and Paul Hage regarding status of settlement negotiations and sale
                     order revisions and for next steps on timing and scope of potential discovery
                     (1.2); review and revise proposed draft sale order (0.7.)                                  2.80     1,834.0C
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Official Committee of Unsecured Creditors                                                            09/30/2020
                                                                                      Account No:    10836-012
                                                                                    Statement No:        264259
Asset Sales


                                                                                            Hours
               For Current Services Rendered                                                 97.00    59,111.00
               Total Non-billable Hours                                                       0.30

                                                 Recapitulation
         Timekeeper                                            Hours         Rate        Total
         Elizabeth B. Vandesteeg                                41.70     $655.00   $27,313.50
         Michael A. Brandess                                    55.30      575.00    31,797.50


               Total Current Work                                                                     59,111.00




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                                                                                                                        Page: 1
      Official Committee of Unsecured Creditors                                                                      09/30/202C
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-015
      c/o Gordon Food Service, Inc.                                                                 Statement No:        26426C
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Litigation & Contested Matters




                                                              Fees

                                                                                                            Hours
09/01/2020    EBV    Email correspondence (0.3) and conference call (0.6) between Committee
                     professionals and Debtors' counsel regarding TRO and adversary complaint;
                     strategy conference with committee professionals regarding same (0.2);
                     continue to review and revise draft TRO (1.1); review and revise draft
                     adversary complaint (2.3); strategy conference with Jeremy Waitzman
                     regarding lease and payment term modification in light of PPP regulations
                     (0.5).                                                                                   5.00

09/15/2020    MAB    Email correspondence with John Lucas regarding director and officer
                     insurance (0.2); review copies of same (0.5); email correspondence with Mark
                     Melickian regarding same (0.2).                                                          0.90

09/16/2020    MSM Collect and review insurance memoranda on D&O claims (0.6); initial review
                  of Barfly policies (0.5); video conference with Michael Brandess, Elizabeth
                  Vandesteeg, and Paul Hage regarding approach to Sellers claims and
                  insurance policies (0.8).                                                                   1.90

              MAB    Strategy conference with Committee professionals regarding potential claims
                     against Mark Sellers (0.8 - N/C).                                                        0.80         N/C

              EBV    Update from Mark Sellers' 341 meeting and consider D&O insurance
                     implications (0.2); strategy conference with Michael Brandess regarding same
                     (0.2); strategy conference with Michael Brandess, Mark Melickian and Paul
                     Hage regarding sellers claims and insurance policy (0.8).                                1.20

09/17/2020    MAB    Review D&O insurance policies regarding potential causes of action (1.3);
                     telephone conference with Paul Hage regarding same (0.2); email
                     correspondence with professional working group regarding same (0.2).                     1.70

              MSM Analysis of policies and potential claims against insiders (1.2).                           1.20

              EBV    Ongoing development of strategy regarding potential sellers claims (0.4).                0.40

09/18/2020    MAB    Strategy conference with committee professional working group regarding
                     director and officer insurance and related implications (0.5).                           0.50

              EBV    Attention to sellers claim and D&O potential coverage/exclusions (0.5).                  0.50
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      Official Committee of Unsecured Creditors                                                                 09/30/2020
                                                                                                 Account No:    10836-015
                                                                                               Statement No:       264260
      Litigation & Contested Matters


                                                                                                       Hours

09/19/2020    MSM Conference call with committee counsel team regarding potential insider
                  claims and insurance coverage (0.4).                                                   0.40

09/21/2020    MAB    E-mail correspondence with Paul Hage regarding insurance issue (0.2).               0.20

39/22/2020    EBV    Continued analysis regarding potential D&O insurance coverage (0.4).                0.40
                     For Current Services Rendered                                                      14.30     9,207.50
                     Total Non-billable Hours                                                            0.80

                     Total Current Work                                                                           9,207.50




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                         Exhibit E
               (October Monthly Fee Statement)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

  In re:
                                                       Chapter 11
  BARFLY VENTURES, LLC, et al,                         Case No. 20-01947-jwb

             Debtors.                                   (Jointly Administered)



    MONTHLY FEE STATEMENT OF SUGAR FELSENTHAL GRAIS & HELSINGER
   LLP FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
       EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                     CREDITORS FOR OCTOBER 2020


  Name of Applicant:                           Sugar Felsenthal Grais & Helsinger LLP
  Authorized to provide services to:           Official Committee of Unsecured Creditors
  Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)
 Period for which compensation is sought:      October 2020
 Amount of compensation sought as actual,      $24,600.002
 reasonable, and necessary:                    80% = $19,680
                                               20% = $4,920.00

 Amount of expense reimbursement sought:       $0.00

 Total interim request:                        $19,680.00


1 The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).
2 Pursuant
            to the Committee's retention of SFGH, SFGH invoices the Committee at a blended
hourly rate of $500.


5029192.vl
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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.O.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     (248)351-3000
                                     pliage@i affelaw,com

                                     -and-

                                     SUGARFELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     (312) 704-9400
                                     mbradness@sfgh.com

                                     Counsel for the Official Committee of Unsecured-
                                     Creditors of Barfly Ventures, LLC et al

Dated: November 11, 2020
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                                    SUGAR FELSENTHAL GRAIS & HELSINGER LLP
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                                                                                                                          Page:
      Official Committee of Unsecured Creditors                                                                        10/31/202
      Barfly Ventures, LLC, et al.                                                                      Account No:    10836-00
      c/o Gordon Food Service, Inc.                                                                   Statement No:       26567
      Attn; Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      General Case Administration


                                                              Fees

                                                                                                              Hours
10/01/2020    MAB     Email correspondence with John Lucas regarding D&O insurance coverage
                      (0.1); review proposal regarding same (0.3); email correspondence with John
                      Lucas regarding amendment to D&O coverage (0.2).                                          0.60       345.0

10/05/2020    MSM Telephone call with Michael Brandess regarding Committee matters and case
                  status (0.2).                                                                                 0.20       137.0

              MAB    Strategy conference with Mark Melickian regarding case status (0.2 - N/C)                  0.20         N/(

10/13/2020    JRO    Strategy conference with Michael Brandess regarding Sellers hearing (0.3).                 0.30       160.5

              MAB    Strategy conference with Paul Hage regarding Mark Sellers' bankruptcy (0.4);
                     e-mail correspondence and telephone conference with Jack O'Connor
                     regarding same (0.3); strategy conference with Elizabeth Vandesteeg
                     regarding same (0.2)                                                                       0.90       517.51

              EBV    Strategy conference with Michael Brandess regarding Mark Sellers issues
                     (0.2).                                                                                     0.20       131.01

10/14/2020    JRO    Email correspondence with local counsel regarding pro hac vice application
                     and sellers appearance (0.2); review order setting 10/15 status conference for
                     Sellers Sub-V case (0.2); prepare for 10/15 Sellers hearing (0.3).                         0.70       374,5'

10/15/2020    JRO    Prepare for (0.2) and attend (0.3) sellers Sub-V status hearing.                           0.50       267.5'

10/16/2020    MAB    Draft strategy email to Paul Hage regarding case closing administrative steps
                     (0.3).                                                                                     0.30       172.5'

10/26/2020    MAB    Telephone conference and email correspondence with Paul Hage regarding
                     conversion (0.3); telephone conference with Jason Torf regarding same (0.3).               0.60       345.0'

10/29/2020    MAB    Draft declaration of creditors in support of appointment of chapter 7 trustee
                     (1.4); email Paul Hage regarding same (0.3); telephone conference with Paul
                     Hage regarding multiple open issues (0.3).                                                 2.00     1,150.0

10/30/2020    MAB    Review Authentiki bankruptcy petition and email correspondence to committee
                     regarding same (0,4).                                                                      0.40       230.0
                     For Current Services Rendered                                                              6.70     3,830.5
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Official Committee of Unsecured Creditors                                                           10/31/2021
                                                                                      Account No:   10836-00
                                                                                    Statement No:       26567I
General Case Administration


                                                                                            Hours
               Total Non-billable Hours                                                      0.20

                                                  Recapitulation
         Timekeeper                                             Hours        Rate        Total
         Mark S, Melickian                                      0.20      $685.00      $137.00
         Elizabeth B. Vandesteeg                                0.20       655.00       131.00
         Michael A. Brandess                                    4.80       575.00     2,760.00
         John R. O'Connor                                       1.50       535.00       802.50


               Total Current Work                                                                     3,830.51




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                                                      GRAIS & HELSINGER                   LLP
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      Official Committee of Unsecured Creditors                                                                           10/31/202t
      Barfly Ventures, LLC, et al.                                                                      Account No:       10836-00:
      c/o Gordon Food Service, Inc.                                                                   Statement No:           26567:
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Applications - SFGH


                                                               Fees

                                                                                                              Hours
10/05/2020    MAB    Draft monthly fee statement (1.2).                                                            1.20       690.0(

10/07/2020    JRO    Continue drafting SFGH final fee application (1.0).                                           1.00       535.0(

10/13/2020    JRO    Draft final fee application (1.8)                                                             1.80       963.0(

10/14/2020    JRO    Further revise SFGH final fee application (0.3); email correspondence to local
                     counsel attaching same for use as template (0.2).                                          0.50         267.5(
                     For Current Services Rendered                                                              4.50        2,455.5(

                                                          Recapitulation
               Timekeeper                                               Hours             Rate             Total
               Michael A. Brandess                                       1.20          $575.00           $690.00
               John R. O'Connor                                          3.30           535.00          1,765.50




                     MAB/MSM/EBV/JPF/JRO

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      Official Committee of Unsecured Creditors                                                                  10/31/202
      Barfly Ventures, LLC, et al.                                                                Account No:    10836-00
      c/o Gordon Food Service, Inc.                                                             Statement No:       26567
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Employment & Fee Application - other professionals


                                                               Fees

                                                                                                        Hours
10/29/2020    MAB     Email correspondence and telephone conference with John Lucas regarding
                      Mastodon fee application (0.2).                                                     0.20      115.01
                      For Current Services Rendered                                                       0.20      115.01

                                                           Recapitulation
                Timekeeper                                               Hours        Rate          Total
                Michael A. Brandess                                       0.20     $575.00        $115.00


                     Total Current Work                                                                             115.01




                     MAB/MSM/EBV/JPF/JRO

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      Official Committee of Unsecured Creditors                                                                      10/31/2021
      Barfly Ventures, LLC, et al.                                                                    Account No:    10836-00'
      c/o Gordon Food Service, Inc.                                                                 Statement No:        26567'.
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Executory Contracts & Unexpired Leases


                                                              Fees

                                                                                                            Hours
10/11/2020    MAB     Telephone conference with Jason Torf regarding food service contract (0.3).            0.30

10/16/2020    MAB    Multiple email correspondence and telephone conference with Mark Rogers
                     regarding NCR cure claim and executory contract (0.7).                                   0.70
                     For Current Services Rendered                                                            1.00       575.0!

                     Total Current Work                                                                                  575.01


                     Balance Due                                                                                        $575.0!




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                                          SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                    30 N. LaSalle Street
                                                       Suite 3000
                                                    Chicago, IL 60602
                                                      (312)704-9400




                                                                                                                    Page:
      Official Committee of Unsecured Creditors                                                                  10/31/2021
      Barfly Ventures, LLC, et al.                                                                Account No:    10836-01
      c/o Gordon Food Service, Inc.                                                             Statement No:        26567I
      Attn: Sharon Murphy, Dir of Credit
      Palatine IL 60055

      Attn: Sharon Murphy, Director of Credit

      Committee Meetings & Governance


                                                              Fees

                                                                                                        Hours
10/06/2020    MAB    Participate in committee call (0.5); email correspondence with Paul Hage
                     regarding same (0.2).                                                                0.70       402.51

10/15/2020    MAB    Email memorandum to committee regarding sale and case update (0.4);
                     multiple email follow ups with committee members regarding same (0.5).               0.90       517.51

10/20/2020    MAB    Draft sale update for committee (0.4).                                               0.40       230.01
                     For Current Services Rendered                                                        2.00     1,150.01

                                                         Recapitulation
                Timekeeper                                             Hours             Rate        Total
                Michael A. Brandess                                     2.00          $575.00    $1,150.00




                     FOR YOUR CONVENIENCE, PLEASE PAY THIS INVOICE ONLINE THROUGH
                     "PAY MY BILL" LINK AT WWW.SFGH.COM
                     AS A COURTESY, WE WILL CREDIT BACK ANY CREDIT CARD
                     PROCESSING FEE YOU INCUR, ON YOUR NEXT INVOICE
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                                            SUGAR FELSENTHAL GRAIS & HELSINGER LLP
                                                      30 N. LaSalle Street
                                                         Suite 3000
                                                      Chicago, IL 60602
                                                        (312)704-9400




                                                                                                                            Page:
       Official Committee of Unsecured Creditors                                                                         10/31/202i
       Barfly Ventures, LLC, et al.                                                                       Account No:    10836-01:
       c/o Gordon Food Service, Inc.                                                                    Statement No:       26567!
       Attn: Sharon Murphy, Dir of Credit
       Palatine IL 60055

       Attn: Sharon Murphy, Director of Credit

       Asset Sales


                                                               Fees

                                                                                                                Hours
10/01/2020     MAB    Email correspondence with John Lucas regarding witness list (0.2); review
                      lender revisions to term sheet (0.4); multiple telephone conferences with
                      Judge Gregg regarding same (0.6); multiple strategy conferences with
                      committee professionals regarding same (1.7); email lender counter-proposal
                      to committee chair (0.2); revise term sheet (0.9); email correspondence with
                      committee chair regarding same (0.2); telephone conference with James
                      Morden regarding winddown budget (0.6).                                                     3.90     2,242.5(

               EBV    Attention to settlement counter offer from lenders (0.8); multiple
                      communications with multiple committee professionals regarding same (2.7);
                      multiple calls with Judge Gregg and committee professionals regarding
                      ongoing sale hearing settlement negotiations (1.9).                                         5.40     3,537.0(

10/02/2020     MAB    Multiple email correspondences and telephone conferences with case
                      professionals regarding sale settlement (3.2); telephone conference and
                      multiple e-mail correspondences with committee regarding same (0.9);
                      multiple telephone conferences with Judge Gregg regarding same (0.4);
                      participate in hearing regarding same (0.6).                                                3.10     1,782.5C

               EBV    Multiple ongoing communications with committee professionals regarding
                      settlement negotiations (0.8); call with John Lucas regarding settlement status
                      (0.3); continued sale hearing (0.6).                                                        1.70     1,113.5C

10/06/2020     EBV    Strategy conference with Michael Brandess regarding ISA and closing issues
                      (0.2); communications with debtors counsel regarding amended sale order
                      (0.2).                                                                                      0.40      262.0C

               MAB    Revise sale order (1.3); strategy conference with Elizabeth Vandesteeg
                      regarding same (0.2 - N/C)                                                                  1.30      747.5C

10/07/2020     MAB    Further revise sale order (0.7).                                                            0.70      402.5C

               EBV    Review and edit sale order (0.9); call with Paul Hage regarding same (0.2).                1.10       720.5C

10/09/2020     MAB    Email correspondence with debtors' counsel regarding sale order (0.2); email
                      case professionals regarding liability assumption language (0.3).                          0.50       287.50

10/11/2020    MAB     Review and revise sale order (1.4); strategy conference with committee
                      professionals regarding same (0.4); email correspondence with debtors'
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                                                                                                                              Page:
       Official Committee of Unsecured Creditors
                                                                                                                           10/31/202
                                                                                                          Account No:      10836-01
                                                                                                        Statement No:         26567
       Asset Sales



                                                                                                                Hours
                      counsel regarding same (0.2).
                                                                                                                 2.00        1,150.0
               EBV    Review and revise lender edits to sale order; communications with Paul Hage
                      and Michael Brandess regarding same (1.1).
                                                                                                                    1.10      720.5'
10/12/2020     MAB    Multiple strategy conferences and email correspondence with committee
                      professionals regarding revisions to sale order (0.6); multiple email
                      correspondence with debtors' professionals regarding same (0.3); email
                      correspondence with lenders' counsel regarding same (0.2); telephone
                      conference with Jason Rosell regarding same (0.5); revise sale order and
                      multiple strategy conferences and email correspondence with estate and
                      lenders' professionals regarding same (2.7).
                                                                                                                    4.30    2,472.5(
              EBV    Multiple calls and emails with Michael Brandess and Paul Hage regarding
                     edits to sale order (0.6); review revised sale order and list of
                     transferred/remaining causes of action (0.6).
                                                                                                                    1.20      786.0(
10/13/2020    MAB    Participate in sale hearing (1.2); strategy conference with professional working
                     group regarding same (0.4); review revised sale order and e-mail
                     correspondence with Jason Rosell regarding same (0.5).
                                                                                                                    2.10    1,207.5(
10/14/2020    MAB    Review revised sale order and email correspondence with Jason Rosell
                     regarding same (0.3),
                                                                                                                    0.30      172.5C
10/16/2020    MAB    Telephone conference with John Lucas regarding status of closing (0.3); email
                     correspondence with Paul Hage regarding same (0.2).
                                                                                                                    0.50      287.5C
10/19/2020    MAB    Review revisions to sale order (0.6); email correspondence and telephone
                     conference with Jason Rosell regarding same (0.3).
                                                                                                                    0.90      517.5C
10/20/2020    MAB    Review amended sale order (0.7); email correspondence with Jason Rosell
                     regarding same (0.2).
                                                                                                                    0.90      517.50
10/21/2020    MAB    Review and compare revised sale order to previous version (0.6); email
                     correspondence with committee regarding same (0.3),
                                                                                                                    0.90      517.50
10/25/2020    MAB    Email correspondence with debtors' professionals regarding status of sale
                     closing (0.2).
                                                                                                                    0.20     115.00
10/26/2020   MAB     Multiple telephone conferences and email correspondence with Committee
                     professionals regarding sale closing (1.9); multiple telephone conferences with
                     Jason Rosell and John Lucas regarding same (0.4).
                                                                                                                 2.30       1,322.50
                     For Current Services Rendered
                                                                                                                34.80      20,882.00

                                                         Recapitulation
               Timekeeper                                              Hours              Rate              Total
               Elizabeth B. Vandesteeg                                  10.90          $655.00          $7,139.50
               Michael A. Brandess                                      23.90           575.00          13,742.50
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                           Exhibit F
                       (Proposed Order)
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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                    Chapter 11
    BARFLY VENTURES, LLC, et al,4                                   Case No. 20-01947-jwb
                                                                    Hon. James W. Boyd
                             Debtors.                               Jointly Administered


     ORDER APPROVING FIRST APPLICATION OF SUGAR FELSENTHAL GRAIS &
    HELSINGER LLP FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             This matter having come before the Court on the First Application of Sugar Felsenthal

Grais & Helsinger, LLP for Compensation & Reimbursement of Expenses as Counsel to the

Official Committee of Unsecured Creditors (the "Application")5 wherein Sugar Felsenthal Grais

& Helsinger, LLP ("SFGH") sought allowance of an administrative expense for fees and expenses

incurred as counsel to the Committee during the Application Period; notice of the Application

being sufficient and consistent with Compensation Order; and no objections to the Application

having been filed:

             IT IS HEREBY ORDERED:

             1.      The Application is granted.




4 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant Saloon)(4255).

5   Capitalized terms not otherwise defined herein shall have the meaning given to them in the Application.
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        2.      SFGH is granted an allowed administrative expense under section 503(b)(2) for

professional fees and expenses incurred during the Application Period in the amount of

$258,185.00.

                The Debtors are authorized and directed to promptly pay to SFGH the outstanding

balance of the fees and expenses allowed under this Order, in the amount of $51,630.00.

       4.       This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

                                       END OF ORDER


Order prepared and submitted by:

JAFFE RAITT HEUER & WEISS, P.C.
Paul R. Hage (P70460)
27777 Franklin, Suite 2500
Southfield, Michigan 48034
Phone: (248) 351-3000


Counsel for the Official Committee of Unsecured
Creditors of Barfly Ventures, LLC et. al.
